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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN
_______________________________________________
                                                   )
Jill Swenson                                       )
Melody McCurtis                                    )
Maria Nelson                                       )
Black Leaders Organizing for Communities           )
Disability Rights Wisconsin                        )
                                                   )
                                                   ) No. 20-CV-459-WMC
                            Plaintiffs,            )
        v.                                         )
                                                   )
Marge Bostelmann, Julie M. Glancey, Ann S. Jacobs, )
Dean Knudson, Robert F. Spindell, Jr., and         )
Mark L. Thomsen, Commissioners of the Wisconsin    )
Elections Commission;                              )
                                                   )
Meagan Wolfe, Administrator of                     )
the Wisconsin Elections Commission.                )
                                                   )
                                                   )
                            Defendants.            )
_______________________________________________ )




    FIRST AMENDED COMPLAINT AND PRAYER FOR DECLARATORY AND
                       INJUNCTIVE RELIEF
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                                          INTRODUCTION

        1.      The April 7, 2020 election was unlike any other in Wisconsin’s history, tainted by

breakdowns in critical aspects of the election process and disenfranchisement of a substantial

number of Wisconsin voters. Two days before the election, the Surgeon General of the United

States likened the novel coronavirus (“COVID-19”) pandemic to the Pearl Harbor and

September 11 attacks, warning the nation to prepare for the “saddest week of most Americans’

lives.”1 While all other states with primaries scheduled in April delayed their elections,

Wisconsin held its election in the midst of a global pandemic. Defendants and others took steps

to attempt to administer the election fairly, including some at the order of this Court, but those

actions were insufficient to protect the rights of Wisconsin voters. As a result, voters were forced

to choose between forgoing their constitutional rights to participate in their democracy or risking

the health of themselves and their loved ones in order to vote. Tens of thousands of voters were

disenfranchised by failures in the absentee and in-person voting systems. The election shook the

public’s faith in the democratic process.

        2.      This outcome was foreseeable and, for too many Wisconsin voters, including

Plaintiffs, preventable. For over a month before the election, Defendants were aware of the

growing danger of COVID-19 and the attendant risks of administering an election during the

escalating pandemic. With each passing day, public health officials grew louder in their calls for

social distancing, urging Americans to stay at home. Each day brought more deaths and more

new infections. By election day, 83 Wisconsinites had died of COVID-19 and 2,440 residents

were known to be infected with the virus. At the same time, election experts from across the

country expressed alarm over the lack of actionable steps taken by the state to conduct an


1
 Quint Forgey, Surgeon General Warns This Week ‘Is Going to Be Our Pearl Harbor Moment’, POLITICO (Apr. 5,
2020), available at https://www.politico.com/news/2020/04/05/surgeon-general-pearl-harbor-moment-165729.

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election in such extraordinary circumstances. As municipal and county clerks warned about the

lack of capacity and resources to carry out the election properly, nine mayors, including the

mayors of the five largest cities in Wisconsin, demanded that the election be postponed.2

        3.       What ensued has been described by one election law expert as the biggest election

failure since the Voting Rights Act was enacted in 1965.3 Voters encountered obstacles at almost

every stage of the election process, including: navigating the online systems designed to register

voters and request absentee ballots; requesting absentee ballots, which were either never

delivered or delivered too late; and voting in person. Before election day, 111 voting

jurisdictions reported not having enough poll workers to open even one polling place; on election

day, Milwaukee had 5 (of its usual 180) polling locations, Green Bay had 2 (of its usual 31)

polling locations, and Waukesha had only 1 (of its usual 15). Voters who did go to the polls in

many places encountered long waits and voting locations without adequate safety supplies for

voters and poll workers alike.

        4.       Plaintiffs bring this case to prevent a replay of this mass disenfranchisement in

either the August Partisan Primary or the November General Election. Like the April 7 election,

those elections will take place against the backdrop of COVID-19 and the extraordinary

challenges it presents to election administrators and voters. There is a growing consensus among

experts that COVID-19 will alter the daily lives of Americans at least into next year, and

certainly through November. Whatever the precise course of the pandemic between now and the

coming elections, there is no question that community transmission and attendant risks will



2
  Joseph Ax, Citing Coronavirus, Wisconsin Mayors Urge Postponement of Tuesday’s Election, REUTERS (Apr. 5,
2020), available at https://www.reuters.com/article/us-health-coronavirus-election-wisconsin/citing-coronavirus-
wisconsin-mayors-urge-postponement-of-tuesdays-election-idUSKBN21O0CZ.
3
  Shawn Johnson, To the Polls in a Pandemic: How Wisconsin Went Ahead with an Election Amidst a Public Health
Crisis, WIS. PUBLIC RADIO (Apr. 13, 2020), available at
https://www.wpr.org/polls-pandemic-how-wisconsin-went-ahead-election-amidst-public-health-crisis.

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continue to impact the demand for online registration and for absentee voting methods, safe

protocols for in-person voting, and other mechanics and processes of voting and election

administration. The U.S. Constitution and the Voting Rights Act of 1965 require Defendants to

administer upcoming elections in a way that avoids forcing voters to choose between their votes

and their safety.

       5.      The U.S. Constitution guarantees that no eligible Wisconsin citizen will be

deprived of the right to vote. Plaintiffs are individuals who were deprived of that right in the

April 7 election and organizations whose work to ensure that Wisconsinites can participate in

elections is burdened by Defendants’ failure to provide a safe and accessible election under

pandemic conditions. Plaintiffs allege that Defendants, by failing to take appropriate actions to

ensure that Wisconsinites can safely access the ballot, violated Section 11(b) of the Voting

Rights Act, the First and Fourteenth Amendments of the U.S. Constitution, and the Americans

with Disabilities Act (“the ADA”). They bring this civil action to enjoin Defendants—

Commissioners and the Administrator of the Wisconsin Elections Commission—from similarly

violating Wisconsinites’ rights to vote during future elections affected by COVID-19.

       6.      As the April 7 election demonstrated, Defendants maintain and administer an

election system that—amidst a pandemic that both Wisconsin and national public health officials

expect will continue and might well intensify between now and November—forces voters to

choose between casting a ballot and protecting their own, their families’, and their communities’

health. In the April 7 election, Defendants failed to take available steps necessary to allow voters

to vote safely, either in person or by the absentee voting procedures provided by Wisconsin law;

and, despite the reports of substantial voter disenfranchisement, they have not taken sufficient

steps to remedy those failures in advance of the coming elections. The burdens imposed by those



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failures, moreover, did not fall equally on voters across the state. As a result, voters faced starkly

different opportunities to safely cast a ballot depending on where they live, their age, their

disability status, and their race.

        7.      Plaintiffs do not contest the results of the April 7 election. Plaintiffs instead come

before this Court to obtain an order requiring Defendants to administer impending elections in a

manner that will not violate eligible voters’ federally protected rights to participate in those

elections. To be sure, Wisconsin’s April 7 election was conducted in the face of a public health

crisis that few foresaw until the month before the election, and many election officials worked

hard to manage the challenges it posed. Those challenges, however, do not alter the fundamental

commands of the U.S. Constitution, the Voting Rights Act, and the Americans with Disabilities

Act: that Defendants take reasonable steps to ensure that all voters can safely access the ballot

and participate equally in a fair democratic process.

        8.      Specifically, to comply with the requirements of federal law, Defendants must

ensure that in-person voting can be safely conducted during the impending elections, including

by mandating that all polling locations be managed in compliance with social distancing

guidelines to minimize COVID-19 transmission risk; that there is an adequate number of poll

workers to open and administer safe, in-person polling locations; that ample, safe opportunities

for in-person absentee voting are available; that all voters who request and are qualified to

receive absentee ballots in fact timely receive those ballots; that voters can safely, effectively,

and timely return their absentee ballots so their votes are counted; and that online systems

designed to register voters and request absentee ballots are sufficient to handle anticipated voter

traffic. Critically, to restore public confidence in the electoral process and prevent further




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disenfranchisement, Defendants must also educate the Wisconsin public about how they can

safely vote—either in person or by absentee ballot—in the impending elections.

       9.      Defendants failed to implement such measures for the April 7 election and have

not taken steps to do so for the rapidly approaching August and November elections. Careful

preparations are necessary to meet the inevitable challenges of conducting safe, fair elections

amidst a pandemic. And those preparations must be undertaken sufficiently in advance of

election day. Implementing changes to the administration of elections requires planning and

preparation. Yet Defendants have not adopted policies that would implement the changes

necessary to avoid the widespread disenfranchisement and substantial burdens on the right to

vote that plagued the April 7 primary. Absent intervention by this Court—including by requiring

Defendants to adopt such necessary policies when authorized by state law, and by enjoining state

laws that currently preclude Defendants from taking necessary measures—the same electoral

process breakdown and resulting violation of Plaintiffs’ rights under federal law is likely to recur

during the impending August Partisan Primary and November General Election.

                                            PARTIES

  I.   Plaintiffs

       10.     Plaintiff Jill Swenson is a resident of Appleton, Wisconsin, and a registered

voter. Ms. Swenson is sixty-one years old and has early stage chronic obstructive pulmonary

disease (“COPD”), an inflammatory lung disease. Ms. Swenson was unable to vote in person

because of the risk to her physical health and safety represented by the COVID-19 pandemic.

She requested and received a mail-in absentee ballot, but she lives alone and was unable to

secure an in-person witness. Consistent with this Court’s order in Democratic Nat’l Comm. v.

Bostelmann, No. 20-CV-249-WMC, 2020 WL 1638374, *18-20 (W.D. Wis. Apr. 2, 2020), she



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mailed in an un-witnessed absentee ballot on the morning of April 3, 2020. After the Seventh

Circuit stayed that order, Democratic Nat’l Comm. v. Bostelmann, Nos. 20-1538, 1539, 1545,

1546, Order (7th Cir. Apr. 3, 2020), and as a result of Defendants’ decision not to provide voters

like Ms. Swenson a reasonable opportunity to cure, Ms. Swenson’s ballot was not counted. She

was thus disenfranchised in the April 7 election. Ms. Swenson does not currently have a safe and

effective way to cast a ballot in the upcoming elections.

       11.     Plaintiff Melody McCurtis is a resident of Sherman Park in Northwest

Milwaukee, Wisconsin, and a registered voter. Ms. McCurtis lives with her

immunocompromised mother, so it was unsafe for her to vote in person due to the COVID-19

pandemic. As a Black community organizer, she is also aware of the disproportionate rates of

infection and death in the Black community, and these elevated risks added to her fears. She

timely requested an absentee ballot on March 22, 2020. Her ballot never arrived. In order to vote

in the April 7 election, Ms. McCurtis was forced to endanger her mother and endure a wait of

more than two hours at Washington High School. Ms. McCurtis was unsafe because voters in

line were not able to maintain social distance, because the polling location did not provide voters

with personal protective equipment, and because voting equipment did not appear to be sanitary.

Ms. McCurtis plans to vote in August and November and presently does not have a safe,

equitable way to cast her ballot.

       12.     Plaintiff Maria Nelson is a resident of Appleton, Wisconsin, and a registered

voter. Ms. Nelson has breast cancer and has been undergoing treatment since February 2019. As

a result, she did not feel safe voting in person. Ms. Nelson timely emailed her absentee ballot

request to the Appleton Clerk’s office. She did not receive an absentee ballot by April 7, 2020.

Ms. Nelson was unable to vote in person on April 7 because of the risk to her physical health and



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safety represented by the ongoing COVID-19 pandemic. Ms. Nelson was thus disenfranchised in

the April 7 election. Ms. Nelson does not currently have a safe and effective way to cast a ballot

in the upcoming elections.

       13.     Plaintiff Black Leaders Organizing for Communities (“BLOC”) is a civic

engagement project based in Milwaukee, Wisconsin, and a fiscally sponsored project of Tides

Advocacy, a California nonprofit. BLOC mobilizes Black Wisconsinites to participate at all

levels of government and encourages communities of color to fulfill their potential for electoral

impact in Milwaukee. As part of its work, BLOC educates the Black community in Milwaukee

about voter eligibility rules and the options for casting a ballot, and it conducts a get-out-the-vote

field program. In the run-up to the April 7 election, BLOC was forced to divert significant

resources in response to the constitutional and statutory violations challenged here. BLOC staff

were forced to spend additional time troubleshooting online registration and absentee ballot

request issues, walking voters through changing deadlines, and providing them with information

about what in-person voting in Milwaukee would look like. This diversion of resources has

continued through the May 12th Special Election and will continue through the August and

November elections if these violations are not remedied.

       14.     Plaintiff Disability Rights Wisconsin (“DRW”) is a statewide nonpartisan,

nonprofit, non-stock corporation organized under the laws of Wisconsin. DRW is based in

Madison, and maintains offices across the state, including in Menasha, Milwaukee, Green Bay,

and Rice Lake. DRW’s mission is to address the issues facing, and to ensure the rights of, all

people with disabilities in Wisconsin. DRW is a member of the National Disability Rights

Network and is designated by the Governor of Wisconsin to act as the congressionally mandated

protection and advocacy system for Wisconsin citizens with disabilities, pursuant to Wis. Stat.



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§ 51.62; 29 U.S.C. § 794e; 42 U.S.C. §§ 15041, et seq.; and 42 U.S.C. §§ 10801, et seq.

Accordingly, DRW has a state and federal mandate to protect and advocate for the rights of

people with disabilities in Wisconsin, including those with developmental disabilities, mental

illness, and traumatic brain injury. As part of this mandate, DRW oversees self-advocacy training

and other programs and services to assist people with disabilities, including to secure election

access, registering to vote, accessing polling places, and casting their ballots, and it staffs a Voter

Hotline to assist voters with disabilities. DRW also co-leads the Wisconsin Disability Vote

Coalition. In the run-up to the April 7 election, DRW was forced to divert significant resources

in response to the constitutional and statutory violations challenged here. DRW had to produce

numerous resources and trainings for voters that it would not have otherwise produced, and it

had to spend staff time untangling the options for voters with disabilities and assisting voters

who were at risk of being disenfranchised. This diversion of resources has continued through the

May 12th Special Election and will continue through the August and November elections if these

violations are not remedied. DRW also brings this suit on behalf of people with disabilities in

Wisconsin who face significant obstacles to voting as a result of COVID-19 and will either be

disenfranchised or exposed to heightened risk of illness if their legal rights to safely vote are not

vindicated.

 II.   Defendants

       15.     Defendants Marge Bostelmann, Julie M. Glancey, Ann S. Jacobs, Dean

Knudson, Robert F. Spindell, Jr., and Mark L. Thomsen are the six Commissioners of the

Wisconsin Elections Commission and are named as Defendants in their official capacities.

Together, they comprise the Wisconsin Elections Commission, the body that administers and




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enforces Wisconsin’s election laws other than those related to campaign finance. Wis. Stat.

§ 5.05(1), (2w).

        16.     Defendant Meagan Wolfe is sued in her official capacity as the Administrator of

the Wisconsin Elections Commission. She is the chief elections officer of the state. Wis. Stat.

§ 5.05(3g).

        17.     Defendants have acted under color of state law at all times relevant to this action.

                                   JURISDICTION AND VENUE

        18.     Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to redress the

deprivation, under color of state law, of rights secured by the U.S. Constitution and by the

Voting Rights Act, 52 U.S.C. §§ 10101, et seq., and the Americans with Disabilities Act, 42

U.S.C. §§ 12131, et seq. This Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.

§§ 1331 and 1343 because this case arises under the U.S. Constitution and federal statute and

seeks equitable and declaratory relief for the deprivation of federal constitutional and statutory

rights under color of state law.

        19.     This Court has jurisdiction to award attorneys’ fees and costs pursuant to 42

U.S.C. § 1988(b) and 28 U.S.C. § 1920.

        20.     This Court has jurisdiction to grant declaratory relief pursuant to 28 U.S.C.

§§ 2201 and 2202.

        21.     This Court has personal jurisdiction over Defendants, who are sued in their

official capacities only.

        22.     Venue is appropriate in the Western District of Wisconsin, under 28 U.S.C.

§ 1391(b)(1), because Defendants are state officials located in Madison, Wisconsin. A




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substantial part of the events giving rise to these claims occurred and continues to occur in this

district, making venue also proper under 28 U.S.C. § 1391(b)(2).

                                   FACTUAL ALLEGATIONS

 I.    Defendants and the Wisconsin Elections Commission

       23.      The Wisconsin Elections Commission (“the Commission”) administers and

enforces all “laws relating to elections and election campaigns, other than laws relating to

campaign financing,” which are administered separately by the Wisconsin Ethics Commission.

Wis. Stat. § 5.05(1), (2w).

       24.      The Commission consists of six members, four appointed by legislative leaders

and two nominated by the Governor. Wis. Stat. § 15.61. Defendants Bostelmann, Glancey,

Jacobs, Knudson, Spindell, and Thomsen are the members of the Commission.

       25.      The Commission operates “under the direction and supervision of an

administrator,” who also serves as the “chief election officer” for the state. Wis. Stat.

§ 15.61(1)(b); Wis. Stat. § 5.05(3g). Defendant Wolfe is the Administrator of the Commission.

       26.      The Commission maintains wide-ranging authority over the architecture of

Wisconsin’s electoral system. The Commission retains authority to promulgate rules “applicable

to all jurisdictions for the purposes of interpreting or implementing the laws regulating the

conduct of elections or election campaigns, other than laws regulating campaign financing, or

ensuring their proper administration.” Wis. Stat. § 5.05(1)(f).

       27.      Among many other things, the Commission’s authority includes:

       •     Issuing appropriate guidance or formal advisory opinions, or promulgating

             administrative rules, necessary to implement any state or federal court decision that is

             binding on the Commission. Wis. Stat. § 5.05(5t).



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           •     Providing financial assistance to eligible counties and municipalities for election

                 administration costs, consistent with other provisions of state law. Wis. Stat.

                 § 5.05(10)-(11).

           •     Conducting or prescribing requirements for educational programs to inform electors

                 about voting procedures, voting rights, and voting technology. Wis. Stat. § 5.05(12).

           •     Ensuring that the voting system used at each polling place permits all individuals

                 with disabilities to vote without the need for assistance and with the same degree of

                 privacy that is accorded to nondisabled electors voting at the same polling place. Wis.

                 Stat. § 5.25(4); and

           •     Prescribing uniform instructions for municipalities to provide to absentee electors.

                 Wis. Stat. § 6.869.

           28.      The Commission may also “reconsider at any time any written directives or

written guidance provided to the general public . . . with regard to the enforcement and

administration” of Wisconsin election law, including by county and municipal officials. Wis.

Stat. § 5.05(16)(c).

           29.      Defendants at all times acted under color of state law.

    II.    The Coronavirus Pandemic and Wisconsin’s Response

                 A. COVID-19 and its Health Effects

           30.      In the United States, the first confirmed case of the novel coronavirus known as

COVID-19 was identified in Washington State on January 21, 2020.

           31.      People infected by COVID-19 exhibit a wide range of symptoms, most

prominently cough or shortness of breath or difficulty breathing.4 In addition, according to the


4
 Ctrs. for Disease Control and Prevention, “Symptoms of Coronavirus,” available at
https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (last updated May 13, 2020).

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U.S. Centers for Disease Control and Prevention (“CDC”), five other symptoms indicate that a

person may have COVID-19, including: fever, chills, muscle pain, sore throat, and new loss of

taste or smell.5

        32.        COVID-19 is an especially infectious virus because it is frequently transmitted by

people who are not experiencing symptoms. It may take up to 14 days after exposure to the virus

for a person to exhibit any symptoms, and people may be most infectious prior to exhibiting

symptoms. One study estimated that 44 percent of people infected contracted the virus from

people who felt healthy at the time.6 In fact, some people may remain asymptomatic carriers and

nonetheless transmit the virus.7 Others recover fully from their symptoms and continue shedding

the virus that can infect others.8

        33.        The highly infectious nature of the disease—including its long incubation period

and the number of asymptomatic, pre-symptomatic, and post-symptomatic carriers—poses

significant concerns for populations that are most vulnerable to COVID-19, such as the elderly

and the immunocompromised. The CDC identifies older adults as having a higher risk of

developing more serious complications from COVID-19 and recommends that they stay home as

much as possible when the virus is spreading in the community. The CDC has also warned that

immunocompromised people (including smokers, those undergoing cancer treatment, bone

marrow or organ transplantation, and those with poorly controlled HIV or AIDS, and immune

deficiencies), as well as individuals with lung disease, asthma, heart conditions, severe obesity,

diabetes, chronic kidney disease undergoing dialysis, and liver disease are at higher risk of



5
  Id.
6
  Katherine Harmon Courage, How People Are Spreading Covid-19 Without Symptoms, VOX (Apr. 22, 2020),
available at https://www.vox.com/2020/4/22/21230301/coronavirus-symptom-asymptomatic-carrier-spread.
7
  Id.
8
  Are COVID-19 Patients Contagious After Symptoms, LABMATE (Apr. 16, 2020), available at https://www.labmate-
online.com/news/laboratory-products/3/breaking-news/are-covid-19-patients-contagious-after-symptoms/52030.

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developing more serious complications from COVID-19 illness.9 The Kaiser Family Foundation

estimated that 92.6 million Americans ages 18 and older—nearly 40 percent of all American

adults—are at heightened risk from COVID-19.10

        34.      People outside of these groups, however, are not free from risk. The Wisconsin

Department of Health Services has warned that “[y]ounger people, and particularly those who

are 18 to 30 years old, aren’t immune to COVID-19.”11 A recent CDC analysis of coronavirus

cases from mid-February to mid-March found that a fifth of those who needed to be hospitalized

were ages 20 to 44, and nearly half were ages 20 to 54.12 In Wisconsin, people ages 20 to 49

account for 54 percent of all COVID-19 cases.13

        35.      COVID-19 is infecting and killing Black people at disproportionately high rates

across the United States. The latest available data indicates that the COVID-19 mortality rate for

Black Americans is 2.3 times higher than the rate for Whites and Asians and 2.2 times higher

than the rate for Latinos.14 A Washington Post analysis of available data and census

demographics shows that “counties that are majority-black have three times the rate of infections

and almost six times the rate of deaths as counties where white residents are in the majority.”15



9
  Ctrs. for Disease Control and Prevention, “People Who Are at Higher Risk for Severe Illness,” available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html (last updated May
14, 2020).
10
   Wyatt Koma, et al., How Many Adults Are at Risk of Serious Illness If Infected with Coronavirus? Updated Data,
KAISER FAMILY FOUNDATION (Apr. 23, 2020), available at https://www.kff.org/global-health-policy/issue-
brief/how-many-adults-are-at-risk-of-serious-illness-if-infected-with-coronavirus/.
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   Wis. Dep’t of Health Servs., “Outbreaks in Wisconsin,” available at
https://www.dhs.wisconsin.gov/outbreaks/index.htm (last visited March 26, 2020).
12
   Ctrs. for Disease Control and Prevention, “Severe Outcomes Among Patients with Coronavirus Disease 2019
(COVID-19) — United States, February 12–March 16, 2020” (Mar. 27, 2020), available at
https://www.cdc.gov/mmwr/volumes/69/wr/mm6912e2.htm?s_cid=mm6912e2_w#T1_down.
13
   Wis. Dep’t of Health Servs., “COVID-19: Wisconsin Cases,” available at https://www.dhs.wisconsin.gov/covid-
19/cases.htm (last updated June 18, 2020).
14
   APM Research Lab, “The Color of Coronavirus: COVID-19 Deaths by Race and Ethnicity in the U.S.,” available
at https://www.apmresearchlab.org/covid/deaths-by-race (last updated June 10, 2020).
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   Reis Thebault, et al., The Coronavirus Is Infecting and Killing Black Americans at an Alarmingly High Rate, THE
WASHINGTON POST (Apr. 7, 2020), available at https://www.washingtonpost.com/nation/2020/04/07/coronavirus-is-
infecting-killing-black-americans-an-alarmingly-high-rate-post-analysis-shows/?arc404=true.

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This trend is also discernable at the individual state level, where Black people disproportionally

are infected with, and die of, COVID-19.

        36.      In Wisconsin, Governor Tony Evers has called the disproportionally high

COVID-19 rates and deaths in the Black community “a crisis within a crisis.” Although Black

Wisconsinites comprise just 6.7 percent of the state’s population, they account for roughly a

fourth of COVID-19 deaths and nearly a fifth of COVID-19 cases.16 In Milwaukee County, an

analysis found that areas that are “predominantly black are experiencing disproportionately high

numbers of reported cases and concentrations of coronavirus clusters,” adding that “[r]ace is

emerging as [a] key factor in determining who lives and who dies as this virus sweeps through

the county.”17 Indeed, Blacks in Milwaukee are dying at nearly double the rate of their respective

share of the population.18

        37.      Overall, according to the World Health Organization, “around 1 in every 5 people

who catch COVID-19 needs hospital treatment.”19 To date, in Wisconsin, 13 percent of cases

have required hospitalization, 3 percent of cases have required intensive care, and 3 percent of

cases have ended in death.20




16
   Wis. Dep’t of Health Servs., “COVID-19: Wisconsin Deaths,” available at https://www.dhs.wisconsin.gov/covid-
19/deaths.htm (last updated June 18, 2020); Wis. Dep’t of Health Servs., “COVID-19: Wisconsin Cases,” available
at https://www.dhs.wisconsin.gov/covid-19/cases.htm (last updated June 18, 2020); U.S. Census Bureau,
“QuickFacts Wisconsin,” available at https://www.census.gov/quickfacts/WI (last accessed June 18, 2020).
17
   Joel Rast, et al., Milwaukee’s Coronavirus Racial Divide: A Report on the Early Stages of COVID-19 Spread in
Milwaukee County, UNIVERSITY OF WISCONSIN-MILWAUKEE (Apr. 2020), available at https://uwm.edu/ced/wp-
content/uploads/sites/431/2020/04/COVID-report-final-version.pdf.
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   Compare Milwaukee County, “COVID-19 Dashboard,” available at https://county.milwaukee.gov/EN/COVID-
19 (last accessed May 12, 2020), with U.S. Census Bureau, “QuickFacts Milwaukee County, Wisconsin,” available
at https://www.census.gov/quickfacts/fact/table/milwaukeecountywisconsin/RHI225218 (last accessed May 12,
2020).
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   World Health Organization, “Getting Your Workplace Ready for COVID-19” (Mar. 3, 2020), available at
https://www.who.int/docs/default-source/coronaviruse/getting-workplace-ready-for-covid-19.pdf.
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   Wis. Dep’t of Health Servs., “COVID-19: Wisconsin Cases,” available at https://www.dhs.wisconsin.gov/covid-
19/cases.htm (last accessed June 16, 2020).

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        38.      According to the CDC, the best way to protect against illness from COVID-19 is

to avoid exposure. As a result, the CDC recommends putting “distance between yourself and

other people outside your home” if COVID-19 is spreading in your community.21

              B. February and March in Wisconsin

        39.      On February 5, 2020, Wisconsin announced its first known case of COVID-19,

the twelfth confirmed case in the United States.22

        40.      During a February 27 Commission meeting, the first at which COVID-19 was

discussed, Defendant Knudson, the Chair of the Commission, dismissed the need to plan for a

COVID-19 outbreak, saying “at worst . . . there would be either long lines or a delay in

reporting” and boasting about the Commission’s “robust procedures” for absentee voting.23

When pressed on how to ensure that every voter would have access to the polls during a

coronavirus outbreak, Defendant Knudson changed the subject.

        41.      On March 11, 2020, the World Health Organization declared an international

pandemic. On the same day, municipal clerks in Wisconsin began raising concerns about the

impact on the upcoming election, including polling place closures and poll worker shortages. On

that date, Wisconsin had six confirmed COVID-19 cases.24

        42.      On March 12, 2020, Governor Tony Evers declared a health emergency in

response to the virus, authorizing the Department of Health Services to “take all necessary and

appropriate measures to prevent and respond to incidents of COVID-19” and activating the


21
   Ctrs. for Disease Control and Prevention, “How to Protect Yourself & Others,” available at
https://www.cdc.gov/coronavirus/2019-ncov/prepare/prevention.html (last accessed May 11, 2020).
22
   Bill Miston & Katie Delong, DHS officials confirm 1st case of coronavirus in Wisconsin, patient in ‘home
isolation’, FOX NEWS 6 (Feb. 5, 2020), available at https://fox6now.com/2020/02/05/dhs-officials-confirm-1st-case-
of-coronavirus-in-wisconsin/.
23
   WisconsinEye, “Wisconsin Elections Commission February 2020 Meeting” (Feb. 27, 2020), available at
https://wiseye.org/2020/02/27/wisconsin-elections-commission-february-2020-meeting/, at 1:46:07 - 1:50:38.
24
   Shamane Mills, COVID-19 Cases in Wisconsin Jump from 3 to 6, WIS. PUBLIC RADIO (Mar. 11, 2020), available
at https://bit.ly/2xPVCOZ.

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Wisconsin National Guard.25 Soon after the Governor’s announcement, fearful that nursing

homes would become incubators for infection, the Defendants allowed municipal clerks to move

polling places and directed municipalities not to use the statutory Special Voting Deputy process

that facilitates absentee voting by residents of nursing homes and other care facilities.26

        43.      By March 15, 2020, as the number of confirmed COVID-19 cases in Wisconsin

rose to 33,27 Milwaukee city officials stated they would need 1,800 new poll workers to replace

older poll workers at higher risk of serious illness.

        44.      On March 17, 2020, the Wisconsin Department of Health Services banned

gatherings of 10 or more people. In response, the Mayor of Green Bay noted that the city would

be “unable to administer a normal election.”28

        45.      The next day, multiple Defendants acknowledged that it was not possible for the

state to have a safe and fair election on April 7. Defendant Ann Jacobs said that she “no longer

believe[d] that we are able to fairly and properly administer this election without delay or

postponement, . . . I believe we’re putting people at risk.” Defendant Mark Thomsen echoed that

concern, saying, “We’re going to have an election where no one can vote safely — that’s

absurd,” and Defendant Julie Glancey argued in favor of an election by mail-in ballot only.29




25
   Wis. Executive Order No. 72, Relating to a Proclamation Declaring a Health Emergency in Response to the
COVID-19 Coronavirus (Mar. 12, 2020), available at https://bit.ly/3eEZpPR.
26
   Meeting of the Wis. Elections Commission (Mar. 12, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-
03/March%2012%20Commission%20Meeting%20Agenda%20and%20Materials.pdf.
27
   33 Positive COVID-19 Cases in Wisconsin, FOX NEWS 11 (Mar. 15, 2020), available at https://bit.ly/2Kkde8m.
28
   Shawn Johnson, Wisconsin Bans Crowds Of 10 Or Larger; Order Bars and Restaurants Closed, WIS. PUBLIC
RADIO (Mar. 17, 2020), available at https://www.wpr.org/wisconsin-bans-crowds-10-or-larger-order-bars-and-
restaurants-closed.
29
   Laurel White, State Election Officials Spar Over Possible Postponement Of April 7 Election, WIS. PUBLIC RADIO
(Mar. 18, 2020), available at https://www.wpr.org/state-election-officials-spar-over-possible-postponement-april-7-
election.

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        46.      Defendants also issued a memorandum highlighting shortages of absentee ballot

envelopes, polling locations, poll workers, and cleaning equipment.30 As Defendants encouraged

voters to vote absentee, local clerks across the state estimated a shortage of 600,000 envelopes.

        47.      On March 20, 2020, a bipartisan group of mayors from Green Bay, Appleton, and

Neenah urged that the election be delayed. At that point, there were 216 confirmed cases and

three Wisconsinites had died.31 The same day, this Court ordered extended online voter

registration until March 30, 2020. Democratic Nat’l Comm. v. Bostelmann, No. 20-CV-249-

WMC, 2020 WL 1320819, at *9 (W.D. Wis. Mar. 20, 2020).

        48.      On March 22, 2020, citing COVID-19, the Wisconsin Supreme Court suspended

jury trials until at least May 22.

        49.      On March 24, 2020, Department of Health Services Secretary-designee Andrea

Palm issued Emergency Order No. 12, the Safer At Home Order, which banned all public and

private gatherings of any number of people among members of different households, closed non-

essential businesses, and required that everyone maintain social distancing of at least six feet

from any other person.32 In response, Defendant Wolfe issued a memorandum stating that in-

person absentee voting, sometimes known as early voting, must continue.33

        50.      On March 25, 2020, the Wisconsin Senate began preparing for virtual sessions to

enable remote voting on legislation. On March 26, 2020, the Wisconsin State Capitol building




30
   Wis. Elections Commission, “Update Regarding COVID-19 Election Planning” (Mar. 18, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-03/Com_.%20memo%20re%20COVID-
19%20Election%20Planning%203.18.20.pdf.
31
   Officials: 216 Confirmed Cases of COVID-19 in the State; 3,455 Negative Tests, FOX6 NOW (Mar. 20, 2020),
available at https://fox6now.com/2020/03/20/wisconsin-dhs-206-confirmed-cases-of-covid-19-in-the-state/.
32
   Wis. Dep’t of Health Servs., Emergency Order No. 12, Safer at Home Order, available at https://bit.ly/3cObK2D.
33
   Wis. Elections Commission, “Emergency Order No. 12 Does Not Eliminate In-Person Absentee Voting - COVID-
19” (Mar. 24, 2020), available at https://elections.wi.gov/node/6773.

                                                       17
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closed to the public. Assembly Speaker Robin Vos and Senate Majority Leader Scott Fitzgerald

told reporters that they did not expect to change the date of the April 7 election.34

              C. Events Leading up to the April 7 Election

        51.      On April 2, 2020, after an extensive evidentiary hearing, this Court entered an

injunction (a) ordering that absentee ballots received by April 13, 2020 at 4 p.m. be counted; (b)

extending by one day, to April 3, 2020, the window to request an absentee ballot; and (c)

adjusting the requirement under Wis. Stat. § 6.87(2) that absentee voters have a witness sign

their ballot. Democratic Nat’l Comm. v. Bostelmann, No. 20-CV-249-WMC, 2020 WL 1638374,

*22 (W.D. Wis. Apr. 2, 2020).

        52.      With respect to the absentee witness requirement, the Court ordered that

Defendants “accept an unwitnessed ballot that contains a written affirmation or other statement

by an absentee voter that due to the COVID-19 pandemic, he or she was unable to safely obtain a

witness certification despite his or her reasonable efforts to do so, provided that the ballot is

otherwise valid.” Id., at *20.

        53.      The next day, April 3, 2020, the Seventh Circuit stayed the portion of this Court’s

decision that adjusted the witness requirement for absentee voters but declined to modify the

District Court’s extension of the absentee ballot deadline. Democratic Nat’l Comm. v.

Bostelmann, Nos. 20-1538, 1539, 1545, 1546, order (7th Cir. April 3, 2020).

        54.      Also on April 3, Governor Evers issued an Executive Order calling a special

legislative session so that the Legislature could postpone the April 7 election due to COVID-




34
  Will Kenneally, Legislative Leaders Want April Election to Move Forward, PBS WISCONSIN (Mar. 25, 2020),
available at https://pbswisconsin.org/news-item/legislative-leaders-want-april-election-to-move-forward/.

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19.35 The next day, both the Wisconsin Assembly and the Senate adjourned the special session

within seconds, ensuring that the election would go forward as planned.

        55.      On April 6, 2020, at 12:46 p.m., just eighteen hours before polls opened,

Governor Evers issued Executive Order No. 74, suspending in-person voting for the April 7

election until June 9, or a different date ordered by the legislature.36 Less than 5 hours later, the

Wisconsin Supreme Court enjoined the Governor’s order, holding that he did not have the power

to change the date of the election.37

        56.      Several hours after that, the United States Supreme Court held that all absentee

ballots had to be postmarked by April 7 to be counted, partially overturning this Court’s Order.

Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205, 1208 (Apr. 6, 2020).

        57.      By election day, 83 Wisconsinites had died of coronavirus. Wisconsin had 2,440

reported coronavirus cases, and the Safer At Home Order remained operative.38

III.    Widespread Disenfranchisement in the April 7 Election

        58.      The fears surrounding the administration of the election were realized. Neil

Albrecht, the Executive Director of the Milwaukee Election Commission, stated that “[i]t was




35
   Wis. Executive Order No. 73, Relating to a Special Session of the Legislature to Provide for an All-Mail Spring
Election and Special Election for the 7th Congressional District During the COVID-19 Pandemic (Apr. 3, 2020),
available at https://docs.legis.wisconsin.gov/code/executive_orders/2019_tony_evers/2020-73.pdf.
36
   Office of the Governor, “Gov. Evers Suspends In-Person Voting, Calls Legislature into Special Session on April 7
Election” (Apr. 6, 2020), available at https://content.govdelivery.com/accounts/WIGOV/bulletins/2852119; Wis.
Executive Order No. 74, Relating to Suspending In-Person Voting on April 7, 2020, Due to the COVID-19
Pandemic (Apr. 6, 2020), available at
https://content.govdelivery.com/attachments/WIGOV/2020/04/06/file_attachments/1420231/EO074-
SuspendingInPersonVotingAndSpecialSession.pdf.
37
   Zac Schultz, Live: Where Wisconsin’s Election Currently Stands, PBS WISCONSIN (Apr. 6, 2020), available at
https://pbswisconsin.org/news-item/live-where-wisconsins-election-currently-stands/.
38
   German Lopez, Wisconsin’s Election Day Is a Public Health Disaster, VOX (Apr. 7, 2020), available at
https://www.vox.com/2020/4/7/21212005/coronavirus-wisconsin-voting-lines-election-primary-court; Wisconsin
Coronavirus Map and Case Count, N.Y. TIMES, available at
https://www.nytimes.com/interactive/2020/us/wisconsin-coronavirus-cases.html (last updated May 11, 2020).

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chaos, and chaos is never good for the administration of an election.”39 MIT Professor Charles

Stewart III, a leading empirical scholar of election administration, has estimated that poll

closings kept more than 16,000 people from casting ballots in Milwaukee alone.40 Absentee

ballots were never sent to over 11,000 voters who requested them,41 and more than 14% of

absentee ballots requested and sent to voters were not received back for counting as of April 8, in

significant part as a result of mail delays.42

        59.      Moreover, the Wisconsin Department of Health Services has identified 52 cases

of COVID-19 among poll workers and voters who were at in-person voting locations during the

April 7 election and could have contracted the disease at those locations.43

        60.      Defendants’ administration of the April 7 election failed on numerous

dimensions, described in detail below. These failures caused substantial disenfranchisement,

particularly among elderly voters, voters with disabilities, immunocompromised voters, and

voters of color. Fundamentally, Defendants lacked a coherent, effective plan to ensure that each

and every voter had a full and fair opportunity to vote while remaining protected from the threat

presented by COVID-19.

     A. Defendants’ Failure to Manage Online Registration and Absentee Ballot Problems
        Disenfranchised Voters




39
   Daphne Chen, et al., ‘They Should Have Done Something’: Broad Failures Fueled Wisconsin Ballot Crisis,
Investigation Shows, FRONTLINE PBS (Apr. 21, 2020), available at
https://www.pbs.org/wgbh/frontline/article/wisconsin-election-coronavirus-absentee-ballots/.
40
   Charles Stewart III, @cstewartiii, Twitter (Apr. 15, 2020, 11:12 p.m.), available at
https://twitter.com/cstewartiii/status/1250623188150751232; Charles Stewart III, Important Lessons from the
Wisconsin Primary, Mischiefs of Action (Apr. 17. 2020), available at
 https://www.mischiefsoffaction.com/post/important-lessons-from-the-wisconsin-primary.
41
   Wis. Elections Commission, “Absentee Ballot Report - April 7, 2020 Spring Election and Presidential Preference
Primary” (Apr. 6, 2020), available at https://elections.wi.gov/node/6817.
42
   Wis. Elections Commission, “Absentee Ballot Report - April 7, 2020 Spring Election and Presidential Preference
Primary” (Apr. 8, 2020), available at https://elections.wi.gov/node/6833.
43
   Scott Bauer, 52 Who Worked or Voted in Wisconsin Election Have COVID-19, ABC NEWS (Apr. 29, 2020),
available at https://abcnews.go.com/Health/wireStory/52-worked-voted-wisconsin-election-covid-19-70406317.

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       61.     Defendants failed to maintain digital systems sufficient to meet the needs of

Wisconsin voters with respect to online registration and absentee ballot requests.

       62.     Wisconsin law requires eligible voters to register in order to cast a ballot. Wis.

Stat. § 6.27. Eligible voters can register in person or by mail until 5:00 p.m. on the third

Wednesday before election day, or online until 11:59 p.m. on the third Wednesday before

election day. Wis. Stat. § 6.28(1). Thus, for the April 7 election, the deadline for registration was

set by statute on March 18, 2020. With respect to online registration, this Court’s Order

subsequently extended the deadline until March 30, 2020. Democratic Nat’l Comm. v.

Bostelmann, No. 20-CV-249-WMC, 2020 WL 1320819, at *9 (W.D. Wis. Mar. 20, 2020).

       63.     Those who miss these deadlines can register at the municipal clerk’s office until

close of business on the Friday before election day, Wis. Stat. § 6.29(2)(a), or in person on

election day. See generally Wis. Stat. § 6.55.

       64.     Eligible voters who register to vote electronically or by mail must provide a copy

of an “identifying document that establishes proof of residence.” Wis. Stat. § 6.34(2). To do so,

they must not only have access to the document, but be able to upload or photocopy it. The only

exception to this requirement is for individuals registering electronically, who do not have to

provide such documentation if they provide “the number of a current and valid operator’s license

[or] identification card.” Wis. Stat. § 6.34(2m). To vote at polls, eligible voters must present an

approved voter ID. Wis. Stat. § 6.79.

       65.     The Wisconsin Division of Motor Vehicles (“DMV”) is responsible for issuing all

driver’s license, state ID, or official voter ID cards to Wisconsin residents. Many people can still

only obtain a qualifying voter ID by actually visiting a DMV office in person, including those

who are applying for a Wisconsin identification card for the first time, or who have not held a



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qualifying Wisconsin ID in recent years. Many of those in this category are voters with

disabilities.

        66.      Wisconsin allows voters to vote by absentee ballot without providing an excuse

for why they cannot vote in person. See Wis. Stat. § 6.20. Eligible voters can request an absentee

ballot by mail; in person at the municipal clerk’s office; by signing a statement and requesting to

receive an absentee ballot under special procedures for voters who are indefinitely confined; by

an agent, under special procedures for voters who are hospitalized; by delivery to a special

voting deputy; or by e-mail or fax. Wis. Stat. § 6.86(1)(a).

        67.      Defendants administer the digital systems that track voter registration and

absentee balloting. MyVote is the public-facing website that allows eligible voters to review

general information, register to vote, request an absentee ballot, view the contents of their ballot,

view their voting history, and find their polling place. WisVote is Wisconsin’s statewide voter

list and election-management database, accessible to election officials.

        68.      When a request for an absentee ballot is made by a voter in the MyVote website,

the system converts it into an email. Next, a municipal elections clerk must review the email to

verify the voter’s identification, manually enter the information into WisVote, and print mailing

labels.44

        69.      MyVote has seen increased traffic in the last few years. It has experienced outages

since at least early 2020, which Defendant Wolfe acknowledged in a memorandum on February

18, 2020.45 Defendants failed to take sufficient action to remedy and prevent those outages, and

as a result the outages continued during high-demand periods in the run-up to the April 7


44
   Chen, et al., ‘They Should Have Done Something’: Broad Failures Fueled Wisconsin Ballot Crisis, Investigation
Shows.
45
   Wis. Elections Commission, “Update for Clerks on MyVote Address Problems” (Feb. 18, 2020), available at
https://elections.wi.gov/node/6688.

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election. During the specific periods of time that voters sought to register to vote or request an

absentee ballot for that election, the MyVote website suffered from outages and was sometimes

erroneously closed to new requests.46

        70.      Absentee ballot requests also caused problems for the system.47

        71.      An investigation by the Milwaukee Journal Sentinel, FRONTLINE, and

Columbia Journalism Investigations into Wisconsin’s April 7 election named the “[i]nadequate

computer system” as one of the main problems in the election. 48 It found eligible voters in Lodi,

Pewaukee, Marshfield, Shorewood, and Bristol who had trouble requesting absentee ballots

online, either because the system simply crashed or because they had to give up after spending

hours in front of a computer trying to make their request. The investigation also found that—

across eight cities—Wisconsin voters said they requested absentee ballots only to be later

informed that the state’s system had no record of their request.49

        72.      Defendants do not appear to have secured the server capacity and bandwidth

necessary to support the surge of online registrations and online absentee ballot requests that was

inevitable for an election conducted under the threat of COVID-19.

        73.      Defendants did not take action to divert traffic away from the website.

        74.      Defendant Wolfe wrote in a memorandum after the election that the WisVote

system “performed very well but required round the clock monitoring and auditing to handle this

unique and unprecedented user behavior and traffic.”50



46
   Chen, et al., ‘They Should Have Done Something’: Broad Failures Fueled Wisconsin Ballot Crisis, Investigation
Shows.
47
   Id.
48
   Id.
49
   Id.
50
   Wis. Elections Commission, “Summary of April 7, 2020 Election” (Apr. 18, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-
04/April%207%20Election%20Summary%20and%20Next%20Steps.pdf.

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        75.      In the same memorandum, she acknowledged with respect to MyVote that “there

were unique challenges and obstacles for some voters at the election,” while maintaining that

Commission staff had been successful in “accommodating a significant level of voter turnout.”

Id. at 4.

    B. Defendants’ Failures to Ensure Distribution of Requested Absentee Ballots
       Disenfranchised Voters

        76.      Defendants failed to ensure that voters who requested absentee ballots timely

received them, resulting in the disenfranchisement of those, like immunocompromised voters,

unable to vote in person.

        77.      Under Wisconsin law, voters can request absentee ballots until 5:00 p.m. on the

fifth day before an election, and in-person requests must be made at the municipal clerk’s office

by the Sunday preceding an election. Wis. Stat. § 6.86(1)(b). Municipal clerks must send an

absentee ballot within one business day of when the request was received. Wis. Stat. § 7.15(cm).

        78.      For the April 7 election, the deadline for the receipt of absentee ballot requests

was set by statute as April 2, 2020. With respect to mail, fax, or email absentee ballot requests,

this Court’s Order subsequently extended the deadline to April 3, 2020. Democratic Nat’l Comm.

v. Bostelmann, No. 20-CV-249-WMC, ___ F.Supp.3d ___, 2020 WL 1638374, at *2 (W.D. Wis.

Apr. 2, 2020).

        79.      Wisconsin law requires voters to present a copy of their proof of identification

with their application for an absentee ballot. Wis. Stat. § 6.86(1)(ac).




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        80.      Approximately 73% of votes ultimately cast in the April 7 election were absentee

ballots;51 by contrast, in the 2016 General Election, just 27% of the votes were cast absentee.52

        81.      However, many voters, especially immunocompromised voters, were unable to

participate in the April 7 election as a result of Defendants’ failures to ensure effective and

timely distribution of absentee ballots.

        82.      Wisconsin Elections Commission data show that on election day, more than

12,000 requested absentee ballots had not yet been sent to voters. Voters around the state who

had timely requested absentee ballots never received them. One survey found that voters from

almost 100 Wisconsin cities and towns reported not receiving an absentee ballot, despite having

requested one—in most cases at least two weeks in advance of the election.53

        83.      Moreover, according to the Commission’s website, 14.5% of 1,284,438 absentee

ballots sent to voters (over 186,000 votes) had not been returned by April 13, 2020.54 In

comparison, in the 2016 general election, only 14,480, or 1.7%, of the 845,243 absentee ballots

sent were reported as having not been received for counting.55 Though it is impossible to know

what proportion of absentee ballots were not returned because voters did not timely receive

them, the disproportionate non-return rate suggests that thousands of additional voters who

timely requested ballots never actually received them. These data do not take into account how



51
   Chen, et al., ‘They Should Have Done Something’: Broad Failures Fueled Wisconsin Ballot Crisis, Investigation
Shows.
52
   Wis. Elections Commission, “Elections and Voting Statistics,” available at https://elections.wi.gov/elections-
voting/statistics (last accessed May 9, 2020); Wis. Elections Commission, “General Election Voter Registration and
Absentee Statistics 1984-2016.xlsx,” available at
https://elections.wi.gov/sites/elections.wi.gov/files/page/general_election_voter_registration_and_absentee_s_40046
.xlsx (last accessed May 12, 2020).
53
   Chen, et al., ‘They Should Have Done Something’: Broad Failures Fueled Wisconsin Ballot Crisis, Investigation
Shows.
54
   Wis. Elections Commission, “Absentee Ballot Statistics for April 7” (Apr. 13, 2020), available at
https://elections.wi.gov/node/6765.
55
   Wis. Elections Commission, “Absentee Ballot Report” (Nov. 14, 2016), available at
https://elections.wi.gov/node/4414.

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many of the returned ballots were actually counted. One estimate put the number of returned

ballots that were not counted because of mail delays and confusion about deadlines in the tens of

thousands.56

        84.       Several problems contributed to this failure to ensure effective distribution of

absentee ballots:

              •   First, a shortage of envelopes appears to have delayed the mailing of absentee

                  ballots. On March 18, for example, Defendants noted that clerks across the state

                  estimated a shortage of approximately 600,000 envelopes.57 Although Defendants

                  worked with paper suppliers to address the shortage, it created a backlog that

                  contributed to delays.58

              •   Second, election clerks struggled to keep up with the large volume of absentee

                  ballot requests, and Defendants did not provide them with additional funding or

                  staff to help. The Madison City Clerk reported that there was “no way humanly

                  possible” for officials to mail out ballots at the rate they were receiving requests,

                  despite working 110 hours a week.59 She suggested that exhausted officials were

                  more likely to make errors in fulfilling the ballot requests. Indeed, some voters

                  reported receiving multiple ballots, while one couple reported receiving empty

                  envelopes without a ballot. Another voter did not receive a ballot until after the

                  election because it had been mailed without a street name and had been returned

                  to the clerk’s office as undeliverable.

56
   Scott Bauer & Nicholas Riccardi, Parties Mine Wisconsin for Clues to Voting in the Virus Era, AP NEWS (Apr.
14, 2020), available at https://apnews.com/99f183ea43fd558e08393d2b064bb801.
57
   Wis. Elections Commission, “Update Regarding COVID-19 Election Planning.”
58
   Emily Bazelon, Will Americans Lose Their Right to Vote in the Pandemic?, N.Y. TIMES MAGAZINE (May 5,
2020), available at https://www.nytimes.com/2020/05/05/magazine/voting-by-mail-2020-covid.html.
59
   Chen, et al., ‘They Should Have Done Something’: Broad Failures Fueled Wisconsin Ballot Crisis, Investigation
Shows.

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              •   Third, mail delivery problems, of which Defendants were on notice, contributed

                  to this failure. Defendants were aware of “potential delays in mail delivery” by

                  the United States Postal Service (“USPS”) as early as March 18, and, although

                  Defendants sought to stay in touch with USPS to learn about delays and

                  “encouraged clerks to communicate and coordinate with local post offices,” this

                  response was insufficient.60

        85.       The problems turned out to be overwhelming. In Milwaukee, numerous voters

never received an absentee ballot even though their ballots had been issued two weeks before the

election. In the week leading up to the election, Fox Point Village Hall received returns from

USPS of 100 to 150 undelivered absentee ballots per day, with officials making at least seven

trips to the post office to re-mail the undelivered ballots.61 On the morning of the election,

officials received a plastic mail bin containing 175 absentee ballots that appeared to have never

been sent to voters, including several ballots intended for a different municipality.62 The day

after the election, a postal worker discovered three containers of undelivered absentee ballots

intended for voters in Oshkosh and Appleton.63

        86.       Defendants failed to ensure a uniform appropriate response to these challenges,

and as a result, voters’ ability to cast a ballot that would be counted varied widely and arbitrarily,

depending on the location of the residential address at which they were registered to vote. For



60
   Wis. Elections Commission, “Update Regarding COVID-19 Election Planning.”
61
   Returned to Sender: Postal Officials Investigating Wisconsin Absentee Ballots That Were Never Delivered, WIS.
PUBLIC RADIO (Apr. 9, 2020), available at https://www.wpr.org/returned-sender-postal-officials-investigating-
wisconsin-absentee-ballots-were-never-delivered.
62
   Jeff Rumage, Post Office Returns Hundreds of Absentee Ballots That Were Supposed to Be Delivered to Fox Point
Voters, MILWAUKEE JOURNAL SENTINEL (Apr. 8, 2020), available at
https://www.jsonline.com/story/communities/northshore/news/fox-point/2020/04/08/wisconsin-election-fox-point-
absentee-ballots-never-made-voters/5119812002/.
63
   Returned to Sender: Postal Officials Investigating Wisconsin Absentee Ballots That Were Never Delivered, WIS.
PUBLIC RADIO.

                                                      27
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example, to ensure the orderly distribution of absentee ballots to voters who wanted to avoid in-

person voting, some municipalities, including Whitefish Bay and Bayside, mailed every

registered voter within the municipality an absentee ballot request form.64 Those municipalities

experienced significantly higher rates of voter participation than did most municipalities that did

not take this step.

        87.      All of this makes clear that Defendants failed to ensure that all registered voters

who timely requested absentee ballots received them in time to participate in the April 7 election.

     C. Defendants’ Failure to Make Adequate Provisions for Voters to Return Absentee Ballots
        Disenfranchised Voters

        88.      Wisconsin law provides that absentee ballots must be “delivered to the polling

place no later than 8 p.m. on election day.” Wis. Stat. § 6.87(6). This means that absentee ballots

must be physically received by that time in order to count.

        89.      With respect to the April 7 election, this Court’s Order enjoined “the enforcement

of the requirement under Wis. Stat. § 6.87(6) that absentee ballots must be received by 8:00 p.m.

on election day to be counted and extend[ed] the deadline for receipt of absentee ballots to 4:00

p.m. on April 13, 2020.” Democratic Nat’l Comm. v. Bostelmann, No. 20-CV-249-WMC, ___

F.Supp.3d ___, 2020 WL 1638374, at *2 (W.D. Wis. Apr. 2, 2020). On April 6, the U.S.

Supreme Court partially stayed that injunction, requiring that “a voter’s absentee ballot must be

either (i) postmarked by election day, April 7, 2020, and received by April 13, 2020, at 4:00

p.m., or (ii) hand-delivered as provided under state law by April 7, 2020, at 8:00 p.m.”

Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct. 1205, 1208 (Apr. 6, 2020).



64
   Craig Gilbert, How Two Communities on Milwaukee’s North Shore Achieved Sky-High Levels of Absentee Voting
Despite Coronavirus, Milwaukee Journal Sentinel (Apr. 10, 2020), available at
https://www.jsonline.com/story/news/politics/elections/2020/04/10/wisconsin-absentee-ballot-forms-sent-whitefish-
bay-bayside-voters/5129125002/.

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        90.      More than 100,000 absentee ballots were received in the extended window—

namely, after April 7 and before April 13.65

        91.      For many voters, including Plaintiffs Swenson and Nelson, personally delivering

a ballot to the municipal clerk, as anticipated by Wis. Stat. § 6.86(6), was not an option due to

the need to maintain social distance to preserve their health. Defendants had acknowledged that

USPS was experiencing significant delay issues as early as March 18. However, they nonetheless

failed to ensure that the many voters seeking and receiving absentee ballots in the weeks before

the election would be able to return them so that their votes could be counted.

        92.      For example, Defendants failed to require that municipalities establish secure

drop boxes so that voters could return absentee ballots while maintaining social distancing and

without relying on USPS. Defendant Wolfe issued a memorandum on March 31 that identified

drop boxes as an option, but it did not require or even recommend that option.66

        93.      This failure presented particular difficulties after the Supreme Court’s April 6

decision requiring either that ballots be postmarked by 8 p.m. on April 7 or that they be hand-

delivered by that time. Republican Nat’l Comm., 140 S. Ct. at 1208.

        94.      Most significantly, Defendants failed to take action to ensure that validly cast

absentee ballots without a postmark would be counted. Some voters who responded to this

Court’s decision by placing their ballots in the mail on April 7, before the deadline, were

nonetheless disenfranchised because no postmark appeared on their ballot — a fact entirely

beyond the control of those voters. The Madison City Clerk reported several thousand ballots




65
   Richard Pildes, How Many Absentee Ballots in WI Came In on Time Because of the Court Decision to Extend the
Receipt Deadline?, ELECTION LAW BLOG (Apr. 15, 2020), available at https://electionlawblog.org/?p=110746.
66
   Wis. Elections Commission, “FAQs: Absentee Ballot Return Options: USPS Coordination and Drop Boxes”
(Mar. 31, 2020), available at https://elections.wi.gov/sites/elections.wi.gov/files/2020-
03/Ballot%20Return%20Options%203.31.2020.pdf.

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missing a postmark, and some ballots bearing two different postmarks, one dated before April 7

and one dated after. Milwaukee, Greenfield, Manitowoc, Fitchburg, and Sister Bay also received

ballots without postmarks. Clerks in Luxembourg and Elm Grove reported ballot envelopes with

postmarks so light that the date on them was unreadable.

          95.    Defendants failed to promulgate rules or issue guidance to ensure uniform,

appropriate treatment of ballots without a postmark that arrived on April 8, the day after the

election, be counted, even though the president of the Wisconsin State Association of Letter

Carriers confirmed that ballots received on April 8 had “almost certainly” been mailed by April

7.67

       D. Defendants’ Enforcement of Wis. Stat. § 6.87(2)’s Witness Requirement Disenfranchised
          Voters at High Risk From COVID-19

          96.    As to voters at elevated risk for COVID-19, including elderly and

immunocompromised voters, Wisconsin’s absentee ballot-witnessing requirement effectively

denied citizens the right to vote.

          97.    Under Wisconsin law, absentee ballots must be witnessed and signed by another

adult citizen who is not a candidate on the ballot. Wis. Stat. § 6.87(4). For elderly and

immunocompromised voters, including Plaintiff Swenson, in-person voting was not an option

because of the infection risk presented by contact with other people. But absentee voting also

presented a risk to the health to these voters because of the requirement that an adult citizen

witness them sign the ballot.




67
  Riley Vetterkind, Elections Commission Deadlocks Over Whether to Count Ballots Without Postmarks, WIS.
STATE JOURNAL (Apr. 11, 2020), available at https://madison.com/wsj/news/local/govt-and-politics/elections-
commission-deadlocks-over-whether-to-count-ballots-without-postmarks/article_74e0285c-76d7-5471-a82e-
144b78609f48.html.

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        98.     In Wisconsin, the envelopes in which absentee ballots are returned must include

the following language in the “Certification of Voter” box:

        I certify that I exhibited the enclosed ballot unmarked to the witness, that I then in (his)(her)
        presence and in the presence of no other person marked the ballot and enclosed and sealed
        the same in this envelope in such a manner that no one but myself and any person rendering
        assistance under s. 6.87(5), Wis. Stats., if I requested assistance, could know how I voted.

Wis. Stat. § 6.87(2).

The absentee ballot witness is required to certify to the following language:

        I, the undersigned witness, subject to the penalties of s. 12.60 (1)(b), Wis. Stats., for false
        statements, certify that I am an adult U.S. citizen and that the above statements are true and
        the voting procedure was executed as there stated. I am not a candidate for any office on
        the enclosed ballot (except in the case of an incumbent municipal clerk). I did not solicit
        or advise the elector to vote for or against any candidate or measure.

Id. Defendants have promulgated a form envelope for absentee ballots that contains these

certifications and provides space for the relevant signatures and witness address information.

        99.     Defendants failed to take action to ensure that immunocompromised voters could

successfully comply with this requirement. Defendant Wolfe issued a memorandum declaring

that there were “no exemptions in the law for the witness requirement.”68 Although the

memorandum suggested some ways voters might comply with the requirements while

maintaining a physical quarantine, Plaintiff Swenson did not believe that she could plausibly use

them to keep herself safe and cast a ballot.

        100.    This Court recognized that the mechanisms were insufficient at least as applied to

certain populations, “in particular those who are immunocompromised or elderly.” Democratic

Nat’l Comm. v. Bostelmann, No. 20-CV-249-WMC, ___ F.Supp.3d ___, 2020 WL 1638374, at

*2- (W.D. Wis. Apr. 2, 2020). This Court’s Order enjoined “the enforcement of Wis. Stat.



68
  Wis. Elections Commission, “Absentee Witness Signature Requirement Guidance COVID-19” (Mar. 29, 2020),
available at https://elections.wi.gov/node/6790.

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§ 6.87(2) as to absentee voters who have provided a written affirmation or other statement that

they were unable to safely obtain a witness certification despite reasonable efforts to do so,

provided that the ballots are otherwise valid.” Id.

        101.    The following day, April 3, 2020, the Seventh Circuit stayed enforcement of this

aspect of the injunction. Democratic Nat’l Comm. v. Bostelmann, Nos. 20-1538, 1539, 1545,

1546, Order (7th Cir. Apr. 3, 2020).

        102.    In response, Defendants adopted a rule that disenfranchised Plaintiff Swenson and

other voters who had complied fully with then-operative law. On April 5, 2020, almost two days

after the Commission’s initial advisory notice on the topic, Defendants concluded that “[e]ach

absentee ballot for this election must have the required witness signature and address in order to

be counted, including ballots that were returned when this Court’s original order was in effect for

approximately 24 hours.”69

        103.    Defendants’ action invalidated ballots—like that of Plaintiff Swenson—that

complied at the time they were submitted with this Court’s then-valid order and Commission

guidelines. The only option that Defendants presented for voters who had cast these ballots was

to present a witness to election officials in person—defeating both social distancing and the

entire purpose of absentee voting.

     E. Defendants Failed to Safeguard the Availability of In-Person Absentee Voting

        104.    Defendants failed to take action to ensure adequate opportunities for in-person

absentee voting (also known as “early voting”) throughout the state. In-person absentee voting

allows voters to apply for and obtain an absentee ballot in person, and then to complete and cast

the ballot immediately. This increasingly popular method of voting is particularly important


69
  Wis. Elections Commission, “Updated Absentee Witness Signature Requirement Guidance - COVID-19” (Apr. 5,
2020), available at https://elections.wi.gov/node/6816.

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during the pandemic because it accommodates voters who are unable to obtain a mail-in absentee

ballot for a variety of reasons, such as lack of ready access to the online application system, a

transient mailing address, homelessness, and other difficulties. It also alleviates the burden on

election day voting by spreading out the period of in-person voting and allowing those voters

who prefer to vote in-person—perhaps because they do not trust the mail to deliver or return

their ballot—to do so at uncrowded, safer locations at a more convenient time.

       105.    In-person absentee voting can also be conducted on a “drive through” basis,

allowing voters to obtain and cast a ballot while minimizing contact with other people or shared

surfaces.

       106.    During the April 7 election period, Defendants failed to take action to ensure

adequate in-person absentee voting opportunities, or to ensure that available opportunities were

properly publicized. For example, all three of the City of Milwaukee’s in-person absentee voting

locations abruptly closed on March 23, 2020, following an announcement the previous day. The

city subsequently reopened one early voting site downtown but made it available only as a drive-

through, thereby limiting it to those voters with access to a car. These voting changes were

poorly publicized, leaving many voters confused or simply unaware of early voting options in

the city. Moreover, the closure of early voting locations outside of downtown disproportionately

affected the ability of residents of low-income and predominantly Black and Latino

neighborhoods to vote.

       107.    Similarly, in Green Bay, in-person absentee voting opportunities were severely

limited. In-person absentee voting was confined to a single site that was only open on ten

weekdays leading up to the election. On eight of those ten days, voting was limited to four

midday hours. Capacity was further limited during in order to permit social distancing.



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       108.     More broadly, opportunities for in-person absentee voting varied dramatically

across the state in terms of the number of locations, hours, and manner of voting (i.e., drive

through vs. walk in). These options were also generally poorly publicized. Defendants’ actions

and inaction with respect to in-person absentee voting thus deprived voters of a safer alternative

to in-person election day voting and put additional pressure on the mail-in absentee system that

failed so many voters.

       109.     For the upcoming August and November elections, Wisconsin law required

municipalities to designate locations for in-person absentee voting by June 11, 2020. Wis. Stat.

§ 6.855(1). Unless this provision is enjoined, Defendants and municipalities will not have the

flexibility necessary to provide sufficient and safe in-person absentee voting opportunities

because of the early cut-off for designating polling locations.

   F. Defendants Failed to Ensure An Adequate Number of Election Day Polling Places

       110.     Defendants failed to take action to ensure that adequate in-person voting locations

would be available to all voters around the state. As a result, in some jurisdictions a high

proportion of polling places did not open, and voters who sought to vote in-person—whether

because they had not received an absentee ballot or because they had always intended to vote in

person—faced hurdles to casting a ballot.

       111.     Wisconsin law requires that “[p]olling places shall be established for each

election at least 30 days before the election.” Wis. Stat. § 5.25(3).

       112.     Each of these polling places “shall be accessible to all individuals with

disabilities,” and Defendants are charged with the responsibility to ensure that voting systems at

these polling places allow voters with disabilities to vote privately and independently. Id.

§ 5.25(4)(a).



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        113.     Voters with disabilities who require the use of assistive technology available to

them at polling places have no option to avoid in-person voting. Many other voters require in-

person voting options if the online registration system fails or they do not receive a requested

absentee ballot on time. Still others vote in person because of the symbolic significance of voting

at a polling place on election day.

        114.     Defendants failed to ensure that Wisconsin voters could safely exercise the right

to vote, including by ensuring an adequate numbers of poll workers—referred to as election

inspectors by Wisconsin statute—available to operate the number of polling places that would

enable safe and uncrowded voting.

        115.     Almost 60 percent of Wisconsin municipalities reported a shortage of poll

workers ahead of the April 7 election as volunteers sought to protect themselves against COVID-

19. These staffing shortages were especially acute because many older poll workers were

unwilling to risk their health. According to a survey conducted by Defendants prior to the

election, 111 voting jurisdictions in Wisconsin believed they would not have enough workers to

open even one polling place on election day, and 126 additional jurisdictions thought they did

not have enough workers to open “all desired polling places.”70

        116.     These massive anticipated poll worker shortages led to unprecedented reductions

in the number of polling locations in some jurisdictions. Milwaukee faced the most closures of

any city, opening just 5 of its 180 polling sites. While the city usually has 2,000 election




70
   Wis. Elections Commission, “Special Teleconference-Only Meeting, Polling Place Supply and Personnel
Shortages Memorandum” (Mar. 31, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-03/Complete%20Packet%203_31.pdf.

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workers, on April 7 it had only 400. One news report noted that some communities with just a

tenth of Milwaukee’s population had more polling sites open.71

        117.     Although the Governor eventually mobilized the National Guard to work at the

polls, many municipalities were not aware of that option until after they had announced poll

closures. City of Milwaukee Election Commission Executive Director Neil Albrecht, who made

a request for National Guard assistance months earlier, said that he learned about the Governor’s

decision through media reports.72 Albrecht said that if he had known about the assistance, he

could have opened more polling locations in Milwaukee, but it was “too little too late” right

before the election.73 In any event, according to a survey conducted by Defendants, only 2,400

National Guard members were available to address the 7,000 person shortage in poll workers.74

        118.     As a result, the 19,000 Milwaukee voters who voted in person encountered wait

times of up to two-and-a-half hours. Plaintiff McCurtis waited in line to vote at Washington High

School for more than two hours. When the polls were set to close at 8:00 p.m., hundreds of

Milwaukee voters were still waiting in line, Plaintiff McCurtis among them.

        119.     Milwaukee had offered drive-up in-person absentee voting in the days leading up

to the election, but on the last day it was possible to vote in that manner, lines of cars stretched

for blocks downtown and the wait lasted hours.75




71
   Corrinne Hess & Megan Hart, Wisconsin Polls Close But Hundreds Of Voters Remain In Line, WIS. PUBLIC
RADIO (Apr. 7, 2020), available at https://www.wpr.org/wisconsin-polls-close-hundreds-voters-remain-line.
72
   Molly Beck, Gov. Tony Evers to Use National Guard Members to Work the Polls Amid Massive Shortage of
Workers, MILWAUKEE JOURNAL SENTINEL (Apr. 1, 2020), available at
https://www.jsonline.com/story/news/politics/elections/2020/04/01/tony-evers-use-national-guard-members-work-
polls-amid-massive-shortage-workers/5102869002/.
73
   Id.
74
   Marisa Wojcik, State Increases Contact Tracing After In-Person Voting, PBS WISCONSIN (Apr. 10, 2020),
available at https://pbswisconsin.org/news-item/state-increases-contact-tracing-after-in-person-voting/.
75
   Aaron Maybin, ‘I Had to Go Do This:’ Some Waited 2 Hours on Final Day of Drive-Thru Voting in Milwaukee,
FOX 6 (Apr. 5, 2020), available at https://fox6now.com/2020/04/05/i-had-to-go-do-this-some-waited-2-hours-on-
final-day-of-drive-thru-voting-in-milwaukee/.

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        120.     That Milwaukee was so hard hit by these issues is particularly troubling because

Milwaukee is home to 69.4% of Wisconsin’s Black population76—meaning that Black

Wisconsin voters were disproportionately likely to be affected by polling place closures.

        121.      In Green Bay, which opened just two of its 31 polling sites because just 17 of its

270 usual poll workers were able or willing to work,77 voters faced wait times of up to four

hours.78 In Waukesha, which has a population of 70,000, just one polling location out of the

usual 15 was open.

        122.     Defendants’ failures to ensure safe access to polling places on election day also

resulted in arbitrary disparities, in which whether a voter had access to safe voting options

depended on where that voter lives. For example, in stark contrast to Milwaukee and Green Bay,

in Madison, 66 out of 92 polling sites were open. Madison also began offering curbside voting as

early as Friday, April 1 to high-risk voters. While the voting process was altered, it nonetheless

proceeded smoothly. Similarly, in some rural counties across Wisconsin, voting went more

smoothly, without the same extended wait times.

        123.     Nearly a month before the April 7 election, Defendant Wolfe acknowledged that

poll worker shortages were likely to be a problem, but she did not take action sufficient to

remedy the problem. While she provided several recruiting suggestions and instructed clerks to

contact the Commission if they were experiencing “significant poll worker shortages,” the




76
   Wis. Dep’t of Health Servs., “African Americans in Wisconsin: Overview,” available at
https://www.dhs.wisconsin.gov/minority-health/population/afriamer-pop.htm (last revised Sept. 10, 2018).
77
   Wisconsin Primary Recap: Voters Forced to Choose Between Their Health and Their Civic Duty, N.Y. TIMES
(Apr. 7, 2020), available at https://www.nytimes.com/2020/04/07/us/politics/wisconsin-primary-election.html.
78
   Wisconsin Heads to the Polls Amid Coronavirus Pandemic, WIS. PUBLIC RADIO (Apr. 7, 2020), available at
https://www.wpr.org/wisconsin-heads-polls-amid-coronavirus-pandemic.

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“possible recruitment efforts” that the Commission suggested it might undertake did not solve

the problem.79

        124.     Defendants’ failure to take action here had a particularly significant effect

because underlying legal requirements made it extremely unlikely that municipalities could solve

their poll-worker problems on their own. Wisconsin statutes provide that each election official,

including each inspector, must be “a qualified elector of a county in which the municipality

where the official serves is located.” Wis. Stat. § 7.30(2). The county-residence requirement

forbids recruiting inspectors from other parts of the state. This restriction needlessly makes it

more difficult for Defendants to address poll worker shortages, which will recur during the

upcoming elections.

        125.     This statute also means that municipalities within the same county can draw from

the same pool of inspectors. Defendants did not attempt to facilitate, encourage, or coordinate

such intra-county poll-worker sharing.

        126.     As a result, significant disparities in the availability of polling places and the

concomitant wait to vote persisted even within the same county. For example, while the City of

Milwaukee experienced the numerous problems described above, other cities within Milwaukee

County looked very different. In Wauwatosa, a city which borders Milwaukee with a population

of over 46,000, polling locations were largely empty, and in Germantown, with a population of

just less than 20,000, there were no lines at all during the day of the election.80



79
   Wis. Elections Commission, “COVID-19 Frequently Asked Questions (FAQ’s) and Guidance on Procedural
Changes for Care Facility Absentee Voting and Polling Place Relocation” (Mar. 13, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-03/UPDATED%20-
%20Clerk%20comm%20re%20FAQ%20and%20SVD%20and%20Polling%20Place%20Procs_3_13_20.pdf.
80
   Election Day Blog Recap: Milwaukee Releases Tuesday’s Voter Turnout; Late Lines After Polls Closed,
MILWAUKEE JOURNAL SENTINEL (Apr. 7. 2020), available at
https://www.jsonline.com/story/news/politics/2020/04/07/wisconsin-april-7-presidential-primary-election-updates-
voting-pandemic-milwaukee-polling-places/2959757001/.

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         127.     Defendants’ failures with respect to polling place locations and poll workers led

to a situation in which voters in some Wisconsin jurisdictions—but not others—were forced to

locate an unfamiliar polling place to cast a ballot in person and, in some cases, to wait in very

long lines to cast a ballot in person, or to forgo voting altogether.

     G. Defendants’ Failure to Ensure Safe In-Person Voting Resulted in Widespread Voter
        Intimidation

         128.     In conducting an election during a pandemic, Defendants failed to ensure that in-

person voting was safe in each jurisdiction around the state. As alleged above, numerous failures

by Defendants resulted in extremely long lines at polling places. In addition, the availability of

personal protective equipment (PPE) for poll workers varied widely around the state. These

failures increased the risks that voters faced of contracting COVID-19 from a poll worker.

         129.     Milwaukee was and is the epicenter of Wisconsin’s COVID-19 pandemic, and as

of the April 7 primary election, it accounted for over half of coronavirus cases and 81 percent of

related deaths.81 As a result, the city, which is home to nearly 70 percent of the state’s Black

residents, was one of the most dangerous places to vote. Many Milwaukee voters reported being

afraid to vote in person. Other voters compared voting in person on April 7 to moments in civil

rights history when seeking to cast a ballot meant risking your life.82 Given the disparate racial

impact of COVID-19 on the Black community, these comparisons are especially apt.




81
   Ella Nilsen & Li Zhou, How Wisconsin’s Election Disenfranchised Voters, VOX (Apr. 7. 2020), available at
https://www.vox.com/2020/4/7/21212053/wisconsin-election-coronavirus-disenfranchised-voters.
82
   Christina A. Cassidy & Gretchen Ehlke, Black Voters Weighed History, Health in Wisconsin Election, AP NEWS
(Apr. 8, 2020), available at https://apnews.com/be402510fea98fd7c37067ca05fd8e1a (“‘We had to be willing to die
to get our vote, and the same thing is happening right now,’ said Thomas, a 33-year-old director of youth ministry at
a Milwaukee church.”); Miela Fetaw & Hunter Woodall, ‘I Could Get the Virus If I Vote’: Wisconsin’s Terrifying
Election Day, THE DAILY BEAST (Apr. 7, 2020), available at https://www.thedailybeast.com/people-are-going-to-
die-in-this-election-wisconsin-votes-amid-coronavirus-pandemic-1 (“‘Was I scared? Hell yea I’m scared!’ he said.
‘This virus is taking out the black people in this community, but I knew what I had to do. My daddy couldn’t vote
during his time, so I voted for him.’”).

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        130.    The health risk presented by these lines during COVID-19 were objectively

intimidating to voters. As a result, some voters were actually deterred from voting, opting to stay

home or to leave a polling place before casting a ballot rather than wait in line and increase the

risk to their physical well-being and the well-being of their families.

        131.    Others, like Plaintiff McCurtis, who chose to remain in line to vote, did so in the

face of dangerous voting conditions, risking their health in order to exercise the right to vote.

        132.    Numerous voters expressed their fear to reporters and on social media. The

Governor acknowledged that voters were “scared of going to the polls.”83

        133.    Nonetheless, after the election, Defendant Wolfe claimed in her summary

memorandum that voters had reported to the Commission “that they felt safe in polling places

and that there were adequate sanitation supplies.” 84

     H. Burdens on Voters with Disabilities

        134.    The Commission’s failures also severely burdened immunocompromised voters

as well as other voters with disabilities who require assistive technology available only at in-

person polling places.

        135.    Voters who are immunocompromised are voters with disabilities during the

COVID-19 pandemic. These voters must isolate themselves from other people in order to

minimize the risk that they will contract COVID-19 and experience severe illness or death.

        136.    As a result, these voters with disabilities can cast only absentee ballots; in-person

voting is not available to them.




83
   Scott Bauer & Steve Peoples, Wisconsin Moves Forward with Election Despite Virus Concerns, AP NEWS (Apr.
6, 2020), available at https://apnews.com/97db30e6564b9b5eedfc300234ea6630.
84
   Wis. Elections Commission, “Summary of April 7, 2020 Election” (Apr. 18, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-
04/April%207%20Election%20Summary%20and%20Next%20Steps.pdf.

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        137.     Because Defendants failed to ensure that all voters who requested absentee ballots

received them and failed to ensure that absentee voters had access to drop boxes to ensure

delivery of their ballots, many of these voters were disenfranchised, despite making every effort

to cast an effective ballot. They were also disenfranchised by the witness verification

requirement to the extent these immunocompromised voters could not safely secure a witness to

verify their ballot.

        138.     Some voters with disabilities, like voters who are blind, must utilize assistive

technology available only at in-person polling locations in order to vote privately and

independently.

        139.     Some voters fall into both of these categories—they are immunocompromised and

require the use of assistive technology at an in-person polling place. These voters had no safe

opportunity to vote privately and independently, and they were therefore disenfranchised.

        140.     For voters with disabilities who were forced to vote in person, long lines and lack

of curbside voting at some polling locations, particularly in Green Bay, served as additional—

often insurmountable—barriers to their ability to access the ballot.

IV.     Absent Judicial Intervention, These Failures Are Practically Certain to Recur in
        August and November

        141.     When Defendants administer the August and November elections, the COVID-19

pandemic will be ongoing. As a result, regardless of the precise circumstances of the pandemic

on those election days, the demand for online registration and absentee voting will remain

elevated, and safety measures to protect in-person voters will remain vital. However, as the April

7 election showed, Defendants do not have policies or other measures in place to ensure safe

voting in the upcoming August and November elections.

            A. The Ongoing COVID-19 Pandemic

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        142.    As of the time of this filing, there have been 23,454 cases reported in Wisconsin

and 712 deaths.85

        143.    As of this filing, approximately 279 new cases are diagnosed each day in

Wisconsin, as measured by the seven-day average.86 The rate of COVID-19 confirmed cases in

metropolitan areas continues to grow. And some metropolitan areas are seeing continually

increasing growth rates.87 It is not yet clear whether Wisconsin has reached the peak of this

initial wave of infections.88

        144.    It is unlikely that a vaccine will be available until at least 2021,89 and until then,

the country will need to continue to take precautions to minimize the spread of COVID-19.90

        145.    Experts predict that there will be multiple peaks in Wisconsin, with their timing

tied directly to the duration of the Safer At Home Order and the availability of testing.91

        146.    According to Dr. Anthony Fauci, director of the National Institute of Allergy and

Infectious Diseases, a second round of COVID-19 cases in the United States is “inevitable” in

the fall.92



85
   Wis. Dep’t of Health Servs., “Outbreaks in Wisconsin,” available at
https://www.dhs.wisconsin.gov/outbreaks/index.htm (last updated June 17, 2020); Wis. Dep’t of Health Servs.,
“COVID-19: Wisconsin Cases”; Wis. Dep’t of Health Servs., “COVID-19: Wisconsin Deaths.”
86
   Wis. Dep’t of Health Servs., “COVID-19: Wisconsin Summary Data,” available at
https://www.dhs.wisconsin.gov/covid-19/data.htm (last accessed June 18, 2020).
87
   Univ. of Madison, Wis. “Coronavirus in Wisconsin: How Fast It’s Growing,” available at https://data-
viz.it.wisc.edu/wi-metro-growth-rate/ (last accessed May 14, 2020).
88
   Wisconsin Sees 4-day Spike in Coronavirus Cases, WISN 12 (May 4, 2020), available at
https://www.wisn.com/article/wisconsin-sees-spike-in-new-coronavirus-cases/32361185.
89
   Stephen M. Kissler, et al., Projecting the Transmission Dynamics of SARS-CoV-2 Through the Postpandemic
Period, American Association for the Advancement of Science (Apr. 14, 2020), available at
https://science.sciencemag.org/content/early/2020/04/24/science.abb5793.
90
   Lena H. Sun, CDC Director Warns Second Wave of Coronavirus Is Likely to Be Even More Devastating, THE
WASHINGTON POST (Apr. 21, 2020), available at https://www.washingtonpost.com/health/2020/04/21/coronavirus-
secondwave-cdcdirector/.
91
   Wis. Dep’t of Health Servs., “Johns Hopkins Modeling WI COVID-19 - GOAL” (Apr. 24, 2020), available at
https://www.dhs.wisconsin.gov/publications/p02643a.pdf.
92
   Nicole Chavez, Another Wave of Coronavirus Will Likely Hit the US in the Fall. Here’s Why and What We Can
Do to Stop It, CNN (May 2, 2020), available at https://www.cnn.com/2020/05/02/health/coronavirus-second-wave-
fall-season/index.html.

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        147.     The Commission is scheduled to conduct two more elections in 2020: the August

11, 2020 partisan primary and the November 3, 2020 general election. On each of these dates, it

is overwhelmingly likely that COVID-19 transmission will continue in Wisconsin, that no

vaccine will exist, and that many voters will accordingly retain an objectively reasonable fear of

the risk to their physical safety presented by traditional in-person voting.

             B. Turnout in November Will Exacerbate Problems

        148.     If Defendants’ election system was unable to ensure that voters in April were

enfranchised during the COVID-19 pandemic, it will be that much more inadequate in November

absent significant changes. Indeed, “[e]xperts worry that poll worker shortages, long lines and

other delays in processing requests for absentee ballots will only get worse in November, when

there will be more voters.”93

        149.     Nearly three million Wisconsin voters cast ballots in the 2016 presidential

election.94 With experts predicting higher than usual voter turnout nationwide this November,95

the number of Wisconsin voters who seek to participate in the presidential election is likely to be

more than twice the 1.5 million voters who participated in the April 7 election.96 As Defendants

note, there are particular challenges in November presidential elections, which “see a greater




93
   Sam Levine, ‘We’re going to have a catastrophe’: US faces November election fiasco, The Guardian (June 12,
2020), available at https://www.theguardian.com/us-news/2020/jun/12/us-presidential-election-fiasco-voter-
suppression.
94
   Election 2016: Wisconsin Results, N.Y. TIMES (Aug. 1, 2017), available at
https://www.nytimes.com/elections/2016/results/wisconsin.
95
   Susan Milligan, Preparing for a Voter Surge, U.S. NEWS (Sept. 20, 2019), available at
https://www.usnews.com/news/elections/articles/2019-09-20/experts-predict-huge-turnout-in-2020.
96
   Live: Wisconsin Supreme Court and Statewide Election Results, N.Y. TIMES, available at
https://www.nytimes.com/interactive/2020/04/07/us/elections/results-wisconsin-spring-elections.html (last accessed
May 9, 2020).

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proportion of inexperienced voters” and voters that are “more likely to have difficulty navigating

the absentee voting process.”97

         150.     If the proportion of voters seeking to cast absentee ballots in the November

election is similar to the proportion in April, Defendants’ system would need to be equipped to

distribute and receive back more than twice as many absentee ballots as it did in April, and it

would need to be able to ensure that more than twice as many voters could vote safely in person.

Defendants estimate that if voting patterns from April hold, Wisconsin could receive “more than

1.8 million requests for absentee ballots by mail.”98 If a lower proportion of voters seeks to vote

absentee, then that system would need to be able to ensure that any even larger number of voters

could vote safely, and free from intimidating conditions, in person.

         151.     Defendants must equip municipal and county clerks to successfully count this

unprecedented number of absentee ballots.

         152.     Larger turnout will also exacerbate the poll worker shortages experienced during

the April 7 election. Across the country, poll worker shortages have continued to frustrate

elections,99 and experts fear that such shortages will only grow worse in the November General

Election—particularly since elderly poll workers who often run elections will fear contracting

COVID-19.100


97
   Wis. Elections Commission, “April 7, 2020 Absentee Voting Report” (May 15, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-05/May%2020%2C%202020.Final_.pdf.
98
   Id.
99
   See, e.g., AP, Coronavirus fears create shortage of Alaska election workers, Alaska Public Media (June 17,
2020), available at https://www.alaskapublic.org/2020/06/17/coronavirus-fears-create-shortage-of-alaska-election-
workers/; Sam Levine & Suman Naishadham, Georgia primary blighted by long lines and broken voting machines,
The Guardian (June 2, 2020), available at theguardian.com/us-news/2020/jun/09/georgia-election-primary-long-
lines-broken-voting-machines (“Elections officials across the state consolidated polling locations as they faced poll
worker shortages.”).
100
    See Sam Levine, ‘We’re going to have a catastrophe’: US faces November election fiasco, The Guardian (June
12, 2020), available at https://www.theguardian.com/us-news/2020/jun/12/us-presidential-election-fiasco-voter-
suppression; Carrie Levine, Elderly workers run elections. But COVID-19 will keep many home, Center for Public
Integrity (May 13, 2020), available at https://publicintegrity.org/politics/elections/democracy-2020/elderly-workers-
run-elections-but-covid-19-will-keep-many-home/.

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        153.     Unless Defendants take swift actions, the numerous irregularities that plagued the

April 7 election will disenfranchise countless more voters during the impending August and

November elections as well.

             C. Defendants Have Not Taken Steps Sufficient to Correct the Ongoing Problems
                with Wisconsin Elections under COVID-19

        154.     While Defendants have announced some actions that they plan to take to improve

upon the administration of the April 7 election, these actions are insufficient to ensure that

subsequent elections during the pandemic will protect voters’ rights under the Constitution and

federal statutes.

        155.     First, Defendants have not taken sufficient action to ensure that MyVote will be

able to support the large-scale online registration and at-home absentee voting which will

continue to be necessary during the impending August and November elections. In her April 7

Election Summary Memorandum, Defendant Wolfe wrote on this topic that staff would “work to

augment voter workflows for online voter registration and absentee ballot requests.”101 The

memorandum did not address outages or mention securing additional capacity. In her May 20

CARES Grant Planning Memorandum, Defendant Wolfe again did not make specific mention of

adding additional capacity, although she did acknowledge the need for “software development

and consultation” and “system load testing.102

        156.     Absent significant improvement of computer-system infrastructure, Wisconsin

voters will not have adequate access to online absentee ballots or online registration during the

August and November elections.


101
    Wis. Elections Commission, “Summary of April 7, 2020 Election” (April 18, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-
04/April%207%20Election%20Summary%20and%20Next%20Steps.pdf.
102
    Wis. Elections Commission, “CARES Grant Planning” (May 20, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-05/May%2020%2C%202020.Final_.pdf.

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        157.     Second, Defendants have failed to take sufficient action to ensure that voters who

timely request absentee ballots for subsequent 2020 elections will receive those ballots in time to

participate in those elections. Although the Elections Commission now intends to mail absentee

ballot applications to nearly all registered voters who have not already requested one, the April 7

election exposed failures at almost every juncture in the voting process. These failures will not

be corrected as a result of this one action. For example, on the topic of allowing voters to track

where their absentee ballot is in the process, Defendant Wolfe’s memorandum stated that staff

“hopes to incorporate intelligent mail barcodes into the absentee process and incorporate that

information into the MyVote system,” but offers no concrete commitment or contingency plan.

(emphasis added).103 Similarly, in a May 20 memorandum, Defendants mention intelligent mail

barcodes as a “potential direction,” without any assurances that any system will ultimately be

implemented.104

        158.     Third, Defendants have failed to take sufficient action to ensure that all voters

who receive absentee ballots can cast their ballots and have them counted.

        159.     The statutory deadline for requesting an absentee ballot is just five days before

election day, Wis. Stat. § 6.86(1)(b), and clerks can wait up to one business day before mailing a

ballot. Wis. Stat. § 7.15(cm). Defendants have acknowledged that postal mail can take up to a

week to transport a ballot both from clerk to voter and voter back to clerk, for a total of two

weeks. As a result, some voters who timely request absentee ballots, receive them, cast their

votes, and timely return them by postal mail will still be disenfranchised. Nonetheless,




103
   Id.
104
    Wis. Elections Commission, “April 7, 2020 Absentee Voting Report” (May 15, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-05/May%2020%2C%202020.Final_.pdf.

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Defendants have failed to require or facilitate the availability of secure drop boxes in each

municipality for the socially distant return of absentee ballots.

       160.    Even with drop boxes, absent judicial relief ensuring that mailed absentee ballots

postmarked by election day are accepted for counting, some voters who timely request absentee

ballots will inevitably be disenfranchised again.

       161.    Defendants have no policy or other measures in place to create any more

workable alternatives for voters at high risk from COVID-19, especially immunocompromised

voters, who cannot safely comply with the witnessing requirements for absentee ballots set forth

in Wis. Stat. § 6.87(2).

       162.    Fourth, Defendants have no policy or other measures in place to ensure that

voters statewide have sufficient access to in-person absentee voting opportunities, including both

walk-in early voting and drive-through early voting. In-person absentee voting is essential for

those who are unable, for a variety of reasons, to obtain an absentee ballot by mail or through the

online system. It is also essential in order to spread out in-person voting over a longer period,

thereby reducing the likelihood that election day polling locations will be overwhelmed and

allowing better compliance with safety precautions against spread of coronavirus. Additionally,

Wisconsin law requires municipalities to designate locations for in-person absentee voting by

June 11, 2020. Wis. Stat. § 6.855(1). Unless this provision is enjoined, Defendants and

municipalities will not have the flexibility necessary to provide sufficient and safe in-person

absentee voting opportunities because of the early cut-off for designating polling locations.

       163.    Fifth, Defendants, although recognizing the critical shortage of poll workers that

led to widespread polling place closures, have no policy or other measure in place to facilitate

recruitment of poll workers or provide assistance in facilitating the equitable distribution of poll



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workers within counties. Instead, Defendant Wolfe’s memorandum stated that the Commission

would (1) “work with” and “survey” jurisdictions to keep abreast of their shortages; (2) maintain

a ticket for personnel with the State Emergency Operations Center; and (3) develop training for

last-minute poll-worker certification.105

           164.    Sixth, Defendants have failed to take adequate action to ensure that in-person

absentee and election day polling places will be safe during the August and November elections,

and that voters are made aware in advance of these changes so that the failures of the April 7

election do not have an intimidating effect on voters in August and November. While Defendant

Wolfe wrote that, for the August and November elections, Commission staff would assist

jurisdictions in finding sanitary supplies and masks and gloves for poll workers, Defendants have

taken no action to require voters or poll workers to wear masks or take other precautions to

ensure that voters feel secure in appearing at polling places.106

           165.    Seventh, Defendants have failed to take adequate steps to ensure that voters with

disabilities who require the use of assistive technology to vote privately and independently will

have both the option to vote safely in person and the option to use an at-home accessible voting

option.

           166.    Eighth, Defendants have not put forward a plan to ensure that all members of the

voting public have the information they need to register online, request an absentee ballot, and

successfully return that ballot, so that no one at high risk for COVID-19 and thus unable to vote

in person is disenfranchised in August or November. They have not put forward a plan to ensure

that voters on the wrong side of the digital divide have the information they need to register and

request an absentee ballot. Wisconsin voters on the wrong side of the digital divide—who lack


105
      Wis. Elections Commission, “Summary of April 7, 2020 Election.”
106
      Id.

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internet access or familiarity with online resources—are particularly likely to be disenfranchised

because they will not be able to access MyVote in order to easily register and request an absentee

ballot. Black, Latino, elderly, and rural voters are disproportionately likely to be on the wrong

side of the digital divide.107

        167.     Defendants refer only generally to “voter outreach programs.”108 This is

insufficient for the growing demand and need for a comprehensive voter education effort.

        168.     As a result of these failures, the harms experienced by the voters of Wisconsin,

and by Plaintiffs in particular, are overwhelmingly likely to recur in the August and November

elections absent relief here.

 V.     Plaintiffs’ Injuries

Jill Swenson

        169.     Plaintiff Jill Swenson is sixty-one years old and has, among other serious

ailments, early stage chronic obstructive pulmonary disease (“COPD”), an inflammatory lung

disease that causes obstructed airflow from the lungs. Ms. Swenson is in one of the highest-risk

populations for COVID-19.

        170.     Ms. Swenson is a regular voter and makes it her usual practice to vote in person

on election day. This year, because of her age and health, Ms. Swenson felt unsafe voting in

person at her polling location or returning an absentee ballot in person at Appleton City Hall.



107
    U.S. Census Bureau, “The Digital Divide: Percentage of Households by Broadband Internet Subscription,
Computer Type, Race and Hispanic Origin” (Sept. 11, 2017), available at
https://www.census.gov/library/visualizations/2017/comm/internet.html; Andrew Perrin, Digital Gap Between Rural
and Nonrural America Persists, PEW RESEARCH CENTER (May 31, 2019), available at
https://www.pewresearch.org/fact-tank/2019/05/31/digital-gap-between-rural-and-nonrural-america-persists/;
Andrea Caumont, Who’s not online? 5 factors tied to the digital divide, PEW RESEARCH CENTER (May 31, 2019),
available at https://www.pewresearch.org/fact-tank/2013/11/08/whos-not-online-5-factors-tied-to-the-digital-
divide/.
108
    Wis. Elections Commission, “April 7, 2020 Absentee Voting Report” (May 15, 2020), available at
https://elections.wi.gov/sites/elections.wi.gov/files/2020-05/May%2020%2C%202020.Final_.pdf.

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After several unsuccessful attempts to scan in her identification, she successfully requested a

mail-in absentee ballot online at the end of February. It arrived about a week later.

       171.    By March 11, Ms. Swenson had begun to self-quarantine. She did not leave her

home or interact with others in person. Ms. Swenson was unable to find anyone who could safely

witness her ballot. Her friends and neighbors were either failing to practice social distancing, still

working at essential businesses, or recently recovered from possible COVID-19.

       172.    On March 31, Ms. Swenson contacted the Commission for advice on how to

submit her ballot. The Commission told Ms. Swenson to have someone come to her home and

hand the ballot back-and-forth through a window or door. It also pointed her to a website with

guidance suggesting that voters leave their ballot outside for day before a witness handles the

ballot, and then wait another day before handling the witnessed ballot. Ms. Swenson did not feel

safe inviting anyone over. The Commission also told Ms. Swenson she could bring her absentee

ballot to Appleton City Hall, but she felt unsafe doing so because interacting with staff and other

members of the public could cause her serious illness or death.

       173.    When Ms. Swenson learned about the Court’s April 2 order allowing voters to

submit un-witnessed absentee ballots by mail, she completed and mailed her absentee ballot

immediately, with a note stating that she lived alone, feared contracting COVID-19, and could

not find a witness, and that she was submitting an unwitnessed ballot in conformity with the

court order. Later that day, the Seventh Circuit stayed enforcement of that Order. Several days

later, Ms. Swenson learned through news reports that her ballot would be invalidated and that her

vote would not count. She was deeply upset; she cherishes exercising her right to vote.




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       174.    Ms. Swenson was not aware of any opportunity to cure the defect with her

absentee ballot and knew that attempting to vote in person after submitting even an invalidated

absentee ballot would be unlawful.

       175.    If the witnessing requirement remains in effect during the August and November

elections, Ms. Swenson will not have a safe way to vote—and to ensure her vote is counted—in

Wisconsin’s August and November elections.

Melody McCurtis

       176.    Plaintiff Melody McCurtis lives in the Sherman Park neighborhood of

Milwaukee, Wisconsin. She is a lifelong voter who votes in almost every election, large or small.

She lives in a multi-generational household that includes her mother, who has hypertension, high

blood pressure, and an enlarged heart, putting her at increased risk of COVID-19 complications.

As a community organizer, Ms. McCurtis was aware of the disparate impact that COVID-19 had

had on the Black community in Milwaukee. Her polling location at Washington High School is

located in Sherman Park, the epicenter of the COVID-19 crisis in the Black community.

Knowing all this, Ms. McCurtis requested an absentee ballot on March 22.

       177.    Ms. McCurtis’s ballot never arrived. On April 6, Ms. McCurtis called the Clerk’s

office, but there was no answer. She called again on April 7, and was told that she had no choice

but to vote in person. Although Ms. McCurtis’s mother was afraid of Ms. McCurtis voting in

person, Ms. McCurtis joined the blocks-long line outside of Washington High School around

6:30 p.m. on election day. She cast her ballot at 9:09 p.m.

       178.    During the wait of more than two-and-a-half hours, Ms. McCurtis experienced

intimidation, fear, and frustration. Voters in line were not able to practice social distancing due to

the large number of people in line and the failure of election officials to enforce the practice. The



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polling location did not provide PPE for voters, and it had run out of sanitary pens. Ms. McCurtis

observed seniors and individuals with disabilities waiting in the long line. In addition, there was

a noticeably high police presence, including the National Guard. Yet despite the high police

presence, no one stopped a young woman who spent over an hour dancing along the line of

voters, entering voters’ personal space and creating a health risk for those in line.

       179.    As she waited in line, Ms. McCurtis observed a member of the National Guard

approach and speak to a female voter. The woman stepped out of line and left. That National

Guard member then approached Ms. McCurtis and said, “You know this will be a two-hour wait,

right?” The National Guard member appeared to be discouraging voters from remaining in line.

Ms. McCurtis asked him to stop speaking to voters and refrain from discouraging voters from

remaining in line, but she was not able to monitor whether he did so. This experience deeply hurt

Ms. McCurtis, who is a community organizer focused on encouraging Metcalfe Park community

members to vote.

       180.    Ms. McCurtis still feels the traumatic impact of being subjected to such an unsafe

voting experience; the heavy police presence and long line of Black voters reminded her of the

violence surrounding earlier generations of Black Americans’ efforts to vote. On April 7, she felt

afraid for her health and physical safety, and the health and physical safety of her community. In

light of her experience in April, Ms. McCurtis reasonably fears that she will not be able to

exercise her right to vote in August and November without exposing herself, and therefore her

mother, to significant health risks.

Maria Nelson

       181.    Plaintiff Maria Nelson has breast cancer and is currently undergoing

chemotherapy treatment. She is also a regular voter and enjoys taking her two young children to



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the polls to teach them the importance of voting. Because of highly publicized reports explaining

that immunocompromised individuals are most at risk from the COVID-19 pandemic, Ms.

Nelson felt unsafe voting in person at her polling location on election day. Because of this, on

March 31, she timely emailed the Appleton City Clerk and requested an absentee ballot. She

received a call in response from the Clerk’s office stating that the Clerk’s office would be

sending an absentee ballot by mail. Ms. Nelson agreed, assuming that the Clerk’s office was

accurately representing its ability to send her a timely ballot.

       182.    Ms. Nelson’s absentee ballot did not arrive before April 7. Instead, it arrived on

April 8, too late to be used. On election day, Ms. Nelson was not able to vote in person because

she felt too unsafe and was not willing to risk her life by voting in person. As a result, Mrs.

Nelson was disenfranchised.

       183.    If Defendants do not remedy the defects in the in-person and absentee voting

systems, Ms. Nelson will not have a safe and reliable way to cast a ballot in the August and

November elections.

Black Leaders Organizing for Communities

      184.     Plaintiff BLOC mobilizes Black Wisconsinites to participate at all levels of

government and encourages communities of color to fulfill their potential for electoral impact in

Milwaukee. As part of its work, BLOC educates the Black community in Milwaukee about voter

eligibility rules, voter ID requirements, the importance of voting, and the opportunity for early

voting. BLOC primarily operates as a robust field program. For example, BLOC knocked on

approximately 227,000 doors in Milwaukee in 2018, encouraging Black residents to engage in

civic participation, including voting. Ahead of the April 7 election, BLOC had hired 50

ambassadors to knock on an anticipated 44,000 doors. Each ambassador went through more than



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30 hours of civics training, including training on registering voters and how to vote. Much of that

training became out of date as Defendants’ policies and deadlines shifted again and again in the

days leading up to April 7. Because of the COVID-19 pandemic, BLOC ambassadors have

reduced capacity and are working half of their ordinary hours. BLOC is paying ambassadors for

their full hours.

        185.    In light of Defendants’ failures to provide adequate and safe voting opportunities

in the face of the COVID-19 pandemic, BLOC had to uproot its highly effective field program

and divert significant resources to digital outreach to Black Wisconsin voters, including

implementing a texting and phone-banking campaign to educate voters on how to cast mail-in

absentee ballots. This required setting up new technological tools, and training BLOC’s

ambassadors on those tools remotely. While BLOC would inevitably had to have made changes

to its field program in light of COVID-19, Defendants’ policies and practices significantly

increased that burden. As deadlines and absentee ballot requirements shifted, BLOC had to

repeatedly push out additional training and information to its remote staff and ensure that

updated messages were being sent to constituents. BLOC’s staff created graphics and social

media posts for every new deadline and policy change; ordinarily, minimal new content would

be created, and BLOC would be able to reuse any new content. BLOC will be unable to reuse

most of the new content created for April.

        186.    BLOC was also unable to fulfill its mission of encouraging Black Wisconsinites

to vote. BLOC had to contact voters multiple times as policies changed. Each call was longer

than usual, as BLOC staff spent time explaining confusing online systems, helping voters scan

identification over the phone, and walked them through changing deadlines. Because of this, and

because BLOC staff had been and continues to work reduced hours, BLOC was unable to meet



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its goals for voter contacts leading up to the April 7 election (but at the same cost to BLOC). But

for Defendants’ failures, much of this work would have been unnecessary. Instead, BLOC would

have focused on traditional get-out-the-vote efforts, speaking to voters about candidates and

issues. BLOC was not able to have those conversations with voters this year and, because of the

numerous barriers facing its constituents, was not able to meet its goals related to getting

significant numbers of the Black community to vote.

        187.    BLOC’s organizational planning for the summer and fall are on hold, because

BLOC has no way of knowing what policies or deadlines will be in place for the August and

November elections. Many voters with whom BLOC works did not receive an absentee ballot by

April 7, 2020. Others found the absentee ballot request system confusing and difficult to use.

Many of those voters feared for their health and safety due to the ongoing COVID-19 pandemic,

including because COVID-19 has disproportionately affected the Black community. They were

too afraid to vote in person on April 7. As a result, those voters were disenfranchised and unable

to cast a ballot in the election.

        188.    Absent relief here, many voters with whom BLOC works will be similarly

disenfranchised and burdened during subsequent elections. As a result, BLOC will be forced to

continue to divert resources in order to attempt to enfranchise these voters, to counteract the

uncertainty Defendants’ policies and practices are creating, and to reach the increased number of

Black voters facing unsafe voting conditions.

        189.    Although BLOC has invested heavily in building community trust in the election

system and building community power through civic engagement, BLOC is now faced with re-

building that trust after many of the voters with whom BLOC works were disenfranchised due to

Defendants’ failures. This shift in programmatic focus will likely mean generating new



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messaging and outreach campaigns. The lost trust created by Defendants’ failures and the

disenfranchisement of BLOC’s constituents has made it harder for BLOC to achieve its mission.

Disability Rights Wisconsin

       190.    Plaintiff DRW’s mission is to address the issues facing, and to ensure the rights

of, all people with disabilities in Wisconsin. DRW has a state and federal mandate to protect and

advocate for the rights of people with disabilities in Wisconsin, including those with

developmental disabilities, mental illness, and traumatic brain injury. As part of this mandate,

DRW oversees self-advocacy training and other programs and services to assist people with

disabilities, including to secure election access, including registering to vote, accessing polling

places, and casting their ballot. DRW also leads the Wisconsin Disability Vote Coalition.

       191.    In light of Defendants’ failures to provide adequate and safe voting opportunities

in the face of the COVID-19 pandemic, DRW had to produce numerous resources and trainings

ahead of the April 7 election that it would not have otherwise produced, at the expense of staff

time and DRW’s other programmatic priorities. For example, DRW organized four Zoom

briefings to explain the special circumstances and changing policies around the April 7 election.

As requirements changed, DRW had to update and rewrite resources provided to voters five to

six times, including its popular Election FAQ document. With each update, DRW staff had to

spend time liaising with the Commission to make sure they were conveying accurate

information. Ordinarily, DRW would have to create only a single version of these materials.

DRW also had to attend emergency meetings of the Commission, prepare for at least two

unplanned calls with WEC, and coordinate on an emergency basis with other Wisconsin

organizations to ensure voters were getting accurate information.




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        192.    Because of this unplanned and additional work, significant staff time was spent

responding to Defendants’ failures and informing DRW’s constituents about how to vote. This

staff time was diverted from other DRW priorities, such as creating key reference materials for

parents of children with serious disabilities, completing federal grant reporting requirements, and

coordinating Wisconsin’s Mental Health Task Force.

        193.    DRW continues to have to divert resources in response to Defendants’ failures

and in anticipation of future disenfranchisement, if policies are not changed. DRW has devoted

significant staff time to organizing Zoom briefings for the May 12 election, and it is currently

coordinating with other Wisconsin groups on a joint voter-education plan for future elections,

and developing a campaign to encourage voters to vote absentee. As a part of campaign

planning, DRW is conducting in-depth research, including interviews, on how other states

provide for accessible absentee voting. None of this work was previously planned, and all of it

takes staff time away from previously planned work and affects DRW’s ability to fulfill its

mission.

        194.    Many of the Wisconsinites with disabilities on whose behalf DRW advocates face

significant obstacles to voting as a result of COVID-19. They will either be disenfranchised or

exposed to heightened risk of illness if their legal rights to safely vote are not vindicated. DRW

also brings this suit on their behalf.

                                         CLAIMS FOR RELIEF

                  Count 1: Violation of Section 11(b) of the Voting Rights Act
                                         (All Plaintiffs)

        195.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

        196.    Section 11(b) of the Voting Rights Act provides that:

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       No person, whether acting under color of law or otherwise, shall intimidate, threaten, or
       coerce, or attempt to intimidate, threaten, or coerce any person for voting or attempting to
       vote, or intimidate, threaten, or coerce, or attempt to intimidate, threaten, or coerce any
       person for urging or aiding any person to vote or attempt to vote, or intimidate, threaten,
       or coerce any person for exercising any powers or duties under section 10302(a), 10305,
       10306, or 10308(e) of this title or section 1973d or 1973g of Title 42.

   52 U.S.C. § 10307(b).

       197.    Defendants violated Section 11(b) of the Voting Rights Act by failing to take

objectively reasonable precautions to enable Wisconsin citizens to vote free of fear of

contracting COVID-19. See Hicks v. Knight, Civ. No. 15,727, 10 Race Rel. L. Rep. 1507-09

(E.D. La. 1965) (finding that a city violated federal voting rights law when it failed to take

reasonable measures to protect voter registration group from physical danger).

       198.    Defendants did not take objectively reasonable steps to run an absentee-voting

program that guaranteed registered voters who timely requested ballots the ability to reliably and

safely cast their ballots from home. They did not provide municipal clerks with the resources

necessary to timely process an unprecedented volume of absentee ballot requests. They did not

provide a means of complying with the absentee ballot witness requirement that was safe and

feasible for voters at high risk from COVID-19. And they did not ensure that drop boxes would

be available for absentee voters who wanted to ensure timely receipt of their voted ballots.

       199.    Defendants did not take objectively reasonable precautions to ensure that every

voter had access to a safe polling site or in-person absentee voting location that allowed for

adequate social distancing practices. They took insufficient steps to ensure, for instance, that

there were enough poll workers in each county to staff an adequate number of polling sites to

forestall long lines and crowds, and they did not facilitate the equitable sharing of poll workers

across jurisdictions within a county. They did not require that poll workers or voters wear masks.




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        200.   As a result, many Wisconsin voters—even those who had timely requested

absentee ballots—were forced to choose between risking their physical safety to vote and

abstaining from voting.

        201.   Defendants’ failure to take objective reasonable precautions to ensure that each

Wisconsin voter could vote free of fear of contracting COVID-19 intimidated and injured

Plaintiffs.

        202.   Plaintiff Swenson was too intimidated by fear of contracting COVID-19 both to

vote in person and to get a witness to sign her absentee ballot. As a result, she was

disenfranchised. Absent relief, she will be intimidated again in subsequent elections during the

pandemic.

        203.   Plaintiff McCurtis was intimidated and threatened by the unsafe conditions she

encountered in voting at Washington High School in Milwaukee. Absent relief, she will

anticipate similar conditions at polling places during subsequent elections during the pandemic,

and thus will remain intimidated.

        204.   Plaintiff Nelson was too intimidated by fear of contracting COVID-19 to vote in

person, and she did not receive her timely requested absentee ballot. As a result, she was

disenfranchised. Absent relief, she will be intimidated again in subsequent elections during the

pandemic.

        205.   Widespread voter intimidation has forced DRW and BLOC to divert resources

from other activities in order to ensure that voters are not afraid to cast ballots in subsequent

elections during the pandemic.

        206.   Defendants have not taken sufficient steps to remedy their failure to protect voters

from intimidation during the April election.



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       207.    Unless enjoined by the Court, Defendants will continue to violate Section 11(b) of

the Voting Rights Act.

     Count 2: Violation of the Equal Protection Clause of the Fourteenth Amendment
                                  to the U.S. Constitution
                      (Plaintiff McCurtis, Organizational Plaintiffs)

       208.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       209.    The Fourteenth Amendment prohibits Wisconsin from “deny[ing] to any person

within its jurisdiction the equal protection of the laws.” U.S. Const. Amend. XIV, § 1.

       210.    “Having once granted the right to vote on equal terms, [a state] may not, by later

arbitrary and disparate treatment, value one person’s vote over that of another.” Bush v. Gore,

531 U.S. 98, 104-105 (2000). Defendants cannot “arbitrarily deny” Wisconsinites “the right to

vote depending on where they live.” League of Women Voters of Ohio v. Brunner, 548 F.3d 463,

476 (6th Cir. 2008).

       211.    Defendants’ administration of the April 7 election arbitrarily advantaged voters in

some jurisdictions and disadvantaged those who resided in others, including especially voters in

Milwaukee.

       212.    Defendants failed to take sufficient action to remedy known poll worker

shortages. They also failed to facilitate the equitable sharing of poll workers within counties,

leading to situations in which municipalities in the same county had radically different staffing

levels and thus provided radically different experiences for voters.

       213.    Defendants’ arbitrary and disparate administration of the April election injured

Plaintiff McCurtis by subjecting her, as a resident of the City of Milwaukee, to a voting system




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more dysfunctional than that experienced by Wisconsinites in many jurisdictions—who voted

without waiting in line for more than two and a half hours.

       214.    Defendants’ arbitrary and disparate administration of the April election has forced

the Organizational Plaintiffs to divert resources from other activities in order to ensure that

voters in Milwaukee, Green Bay, and other municipalities that experienced severe problems in

April are enfranchised in subsequent elections during the pandemic.

       215.    Defendants’ actions, taken under color of law, deprive Plaintiffs of rights,

privileges, or immunities secured to them by the Constitution of the United States, in violation of

42 U.S.C. § 1983.

       216.    Defendants’ actions and failures to act have subjected Plaintiffs to arbitrary

disparities in their ability to have their votes counted depending on where they live.

       217.    Unless enjoined by the Court, Defendants will continue to violate the Equal

Protection Clause.

                 Count 3: Violation of the First and Fourteenth Amendments
                                   to the U.S. Constitution
                                        (All Plaintiffs)

       218.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       219.    United States citizens’ voting rights are protected by the First and Fourteenth

Amendments to the U.S. Constitution. See Anderson v. Celebrezze, 460 U.S. 780 (1983); Burdick

v. Takushi, 504 U.S. 428 (1992).

       220.    Defendants’ actions unduly burdened Plaintiffs Swenson, McCurtis, and Nelson’s

constitutionally protected voting rights by forcing them to choose between exercising their rights

to vote and their personal safety.


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       221.    As a result, Defendants’ actions imposed a severe—and sometimes impossible—

burden on Plaintiffs’ right to vote.

       222.    Defendants’ administration of the April election in a manner that imposed severe

burdens on voters has forced the Organizational Plaintiffs to divert resources from other

activities in order to ensure that voters are nonetheless enfranchised in subsequent elections

during the pandemic.

       223.    Defendants have no countervailing legitimate governmental purpose in forcing

individuals to choose between the right to vote and their safety.

       224.    Unless enjoined by the Court, Defendants will continue to violate the First and

Fourteenth Amendments.

              Count 4: Violation of the Due Process Clause of the Fourteenth Amendment
                                         to the U.S. Constitution
                                        (Procedural Due Process)
                       (Plaintiffs Swenson and Nelson, Organizational Plaintiffs)

       225.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       226.    The Due Process Clause of the Fourteenth Amendment prohibits the Defendants

from denying any person of a protected property or liberty interest without fair process. See U.S.

Const. Amend. XIV, § 1. At the core of these procedural protections is the right to adequate

notice with respect to any deprivation of a protected interest, and a fair opportunity to be heard

on the matter at a meaningful time and in meaningful manner. See Mathews v. Eldridge, 424

U.S. 319 (1976).

       227.    All eligible Wisconsin voters have a fundamental right to vote protected by the

U.S. Constitution and Wisconsin law. Wis. Stat. § 6.02. All eligible Wisconsin voters also have a

right to request and receive an absentee ballot for any reason, Wis. Stat. § 6.85, et seq., and to

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have their properly cast absentee ballots counted, Wis. Stat. §§ 6.88, 7.52. Each of these rights is

a protected liberty or property interest that triggers the fundamental procedural protections of the

Due Process Clause.

       228.    Defendants violated Plaintiffs’ procedural rights under the Due Process Clause

with respect to the right to obtain an absentee ballot. Defendants violated this right by failing to

provide: adequate notice of the procedures by which individuals might cure any errors in a

request for an absentee ballot; adequate notice that an absentee ballot would not be delivered to

the voter in time to cast the ballot; clear, timely, and effective procedures by which to exercise

the right to vote in the event an absentee ballot did not arrive in sufficient time before election

day; and clear, timely, and effective procedures by which a voter could seek redress in the event

of an erroneous deprivation of the right to obtain an absentee ballot. Defendants further violated

these rights by failing to adopt constitutionally adequate rules, directives, or similar guidance on

these matters statewide.

       229.    Defendants also violated Plaintiffs’ procedural rights under the Due Process

Clause with respect to the right to have absentee ballots counted. Defendants violated this right

by failing to provide timely notice that an absentee ballot had been rejected before election

results are certified, including with respect to absentee ballots rejected on the grounds that the

ballot allegedly lacked necessary signatures or other details, or because of alleged problems with

the postmark or other evidence that the ballot was timely cast. Wis. Stat. §§ 6.88, 7.52.

Defendants also failed to provide voters a constitutionally adequate opportunity to be heard on

the validity of their ballots before they were excluded from the certified election results. Id. In

order to afford constitutionally adequate notice and a timely opportunity to be heard, state laws




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that currently forbid canvassing of absentee ballots prior to election day should be enjoined. See

Wis. Stat. §§ 6.88, 7.51–.52.

       230.    Defendants further violated Plaintiffs’ procedural rights under the Due Process

Clause by failing to provide timely, meaningful, and effective notice of changes in voting

protocols, procedures, and requirements precipitated by the coronavirus pandemic. Defendants’

failure to communicate effective notice of such changes to the public created widespread

confusion in the April 7 election about how eligible voters could or could not exercise their

fundamental right to vote. This failure resulted in Plaintiffs, like Plaintiffs Swenson and Nelson,

losing their fundamental right to vote and other protected interests, including the right to obtain

and cast an absentee ballot rather than incur the health risk of going to a polling place on election

day. Defendants have not cured those failures and have a continuing obligation under the Due

Process Clause to provide effective, timely notice to voters with respect to the protocols,

procedures, and other requirements they must satisfy in order to exercise their fundamental right

to vote either in person or absentee. Defendants have also violated these requirements by failing

to implement rules, directives, or similar guidance with respect to such matters statewide.

       231.    Defendants’ heavy reliance on websites, particularly MyVote Wisconsin, as a

means of providing notice to voters failed to satisfy the requirements of procedural due process

with respect to the large number of Wisconsin residents who do not have ready access such

means of communication, including those who lack necessary technical skills, those with

disabilities, and those who simply do not have ready access to computers or the internet. This

failure disproportionately affects low-income, disabled, elderly, and minority voters, and forces

the Organizational Plaintiffs to expend significant additional resources to carry out voter




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education, voter outreach, and get-out-the-vote activities with respect to the populations that they

each serve.

        232.     Defendants are not taking adequate steps to cure these violations of procedural

due process in the August and November elections.

        233.     Unless enjoined by the Court, Defendants will continue to violate procedural

rights guaranteed by the Due Process Clause.

                     Count 5: Violation of the Americans with Disabilities Act
                     (Plaintiffs Swenson and Nelson, Organizational Plaintiffs)

        234.     Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

        235.     Under Title II of the ADA, state and local governments must not impose

requirements on participation in public services, programs, or activities, including voting, that

prevent individuals with disabilities from fully and equally enjoying that participation, and must

make reasonable modifications in policies, practices, or procedures when necessary to avoid

discrimination on the basis of disability. 42 U.S.C. § 12132. “Title II of the ADA requires [such

entities] to ensure that people with disabilities have a full and equal opportunity to vote. The

ADA’s provisions apply to all aspects of voting, including voter registration, site selection, and

the casting of ballots, whether on Election Day or during an early voting process.”109

        236.     Immunocompromised individuals and those who suffer a significant medical

vulnerability that would place them at high risk of serious bodily injury or death should they

leave the confines of their home, or should they interact with a non-member of their household,

have a disability within the meaning of the ADA.



109
  U.S. Dep’t of Justice, “The Americans with Disabilities Act and Other Federal Laws Protecting the Rights of
Voters with Disabilities,” available at https://www.justice.gov/file/69411/download (last accessed June 18, 2020).

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       237.    Defendants have failed to safeguard these individuals’ right to participate in our

democracy in at least three ways.

       238.    First, through the conduct described above, Defendants have failed to ensure that

such individuals who request absentee ballots receive them, as necessary to allow them to vote,

and to count their ballots if they are able to mail them back. Defendants must maintain a voting

process that ensures those with such disabilities can register for, receive, vote, and have counted

their absentee ballots.

       239.    Second, Defendants have failed to provide reasonable accommodations to voters

with disabilities from the in-person witness requirements for absentee voting, Wis. Stat.

§ 6.87(2). Many Wisconsin voters with disabilities live alone and cannot safely arrange for an in-

person witness. Defendants have failed to accommodate these voters by, for example, replacing

the witness verification requirement with a self-certification requirement. In so doing,

Defendants have violated the ADA by denying these voters the right to participate in

Wisconsin’s voting process by reason of their disability.

       240.    Third, blind individuals and others who require the use of assistive technology

available only in person to vote privately and independently also have a disability within the

meaning of the ADA. By failing to guarantee safe access to in-person voting for these voters,

Defendants have violated the ADA.

       241.    Defendants are not taking adequate steps to avoid these violations of the ADA.

       242.    Unless the requested relief is granted, Plaintiffs Swenson and Nelson and those

similarly situated will suffer irreparable harm in that they will be discriminated against and

denied equal access to participation in voting in violation of the ADA.




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                                PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray that the Court:

A. Declare that administering an election during the COVID-19 pandemic in the manner that

   Defendants administered the April 7, 2020 election violates Section 11(b) of the Voting

   Rights Act, the First and Fourteenth Amendments of the U.S. Constitution, and the

   Americans with Disabilities Act;

B. Order Defendants, for the August and November 2020 elections, to:

   1. Take all appropriate actions to ensure that in-person voting, whether exercised by

   casting an absentee ballot or by casting a ballot on election day, can be safely conducted;

   2. Require that accessible voting machines be available at all in-person absentee voting

   locations;

   3. Take all appropriate actions to ensure an adequate number of poll workers to

   administer safe polling places;

   4. Ensure that each registered voter in Wisconsin receives an absentee ballot request form

   and that all residents of care facilities have adequate opportunities to register to vote and

   request absentee ballots;

   5. Ensure that individuals with print disabilities have an accessible means of receiving,

   marking, and submitting absentee ballots privately and independently;

   6. Take all appropriate actions to ensure that all voters who request and are qualified to

   receive an absentee ballot in fact receive such absentee ballot, and that any voter whose

   request for an absentee ballot is rejected or not processed for any reason be notified and

   given the opportunity to cure any defect in a timely manner;




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   7. Take all appropriate actions to upgrade electronic voter registration systems so they

   can process the anticipated elevated number of online registrations and absentee ballot

   requests;

   8. Take all appropriate actions to coordinate with, and ensure that municipalities

   coordinate with, the United States Postal Service to ensure the timely delivery and return

   of, and counting of, absentee ballots;

   9. Ensure that secure drop boxes for in-person return of absentee ballots are available to

   every voter and increase in-person absentee voting opportunities that are safe and

   accessible, including, for instance, drive-through voting; and

   10. Engage in a public education campaign to apprise the public on: how to request, vote,

   and return absentee ballots; the locations and times for in-person absentee voting; all

   early voting opportunities in each community; the provisions being made for safe in-

   person voting; and any changes in election day polling locations.

C. Enjoin the enforcement of:

   1. Wis. Stat. § 7.30(2) with respect to the requirement that each election official be an

   elector of the county in which the municipality is located;

   2. Wis. Stat. § 6.87(2) during the pendency of the COVID-19 pandemic for all voters

   who are immunocompromised or otherwise at high risk from COVID-19, or who are

   actively infected with COVID-19, who cannot safely secure an in-person witness;

   3. Wis. Stat. § 6.855(1) with respect to the requirement that all in-person absentee voting

   locations for the November general election must have already been designated;

   4. Wis. Stat § 6.87(6) and require that absentee ballots postmarked by election day or not

   bearing a postmark but received within a week of election day be counted; and



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       5. Wis. Stat. §§ 6.88, 7.51-.52 with respect to the requirement that absentee ballots not be

       counted before election day.

   D. Award Plaintiffs their reasonable costs and attorneys’ fees incurred in bringing this action

       pursuant to 42 U.S.C. § 1988(b), 28 U.S.C. § 1920, and other applicable laws; and

   E. Grant such other relief as the Court deems just and proper.

Dated: June 23, 2020

By: /s/ Rachel E. Goodman

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